      Case 8:19-cv-01210-CEH-SPF Document 93 Filed 05/25/21 Page 1 of 85 PageID 7016
                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                          Sam M. Gibbons U.S. Courthouse
                                                Office of the Clerk
                                             801 North Florida Avenue
                                                 Tampa, FL 33602
                                                  (813) 301-5400
                                              www.flmd.uscourts.gov
Elizabeth M. Warren                                                                           Keshia M. Jones
Clerk of Court                                                                         Tampa Division Manager

DATE: May 25, 2021

TO:    Clerk, U.S. Court of Appeals for the Eleventh Circuit

JAMES FICKEN and SUNCOAST FIRST TRUST,

       Plaintiffs,

v.                                                              Case No: 8:19-cv-1210-CEH-SPF

CITY OF DUNEDIN, FLORIDA and DUNEDIN CODE
ENFORCEMENT BOARD,

       Defendants.


U.S.C.A. Case No.:             UNKNOWN

Enclosed are documents and information relating to an appeal in the above-referenced action. Please
acknowledge receipt on the enclosed copy of this letter.

•      Honorable Charlene Edwards Honeywell, United States District Judge appealed from.

•      Honorable Sean P. Flynn, United States Magistrate Judge appealed from.

•      Appeal filing fee was paid.

•      Certified copy of Notice of Appeal, docket entries, judgment and/or Order appealed from. Opinion was
       not entered orally.

•      No hearing from which a transcript could be made.


                                               ELIZABETH M. WARREN, CLERK

                                               By:     s/MB, Deputy Clerk
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                                                                                       APPEAL, CLOSED
                               U.S. District Court
                        Middle District of Florida (Tampa)
               CIVIL DOCKET FOR CASE #: 8:19−cv−01210−CEH−SPF

  Ficken et al v. City of Dunedin, Florida et al                 Date Filed: 05/17/2019
  Assigned to: Judge Charlene Edwards Honeywell                  Date Terminated: 04/26/2021
  Referred to: Magistrate Judge Sean P. Flynn                    Jury Demand: None
  Case in other court: Pinellas County, 5/7/2019, 19−003181−CI   Nature of Suit: 440 Civil Rights: Other
  Cause: 28:1446 Notice of Removal                               Jurisdiction: Federal Question
  Plaintiff
  James Ficken                                   represented by Andrew H. Ward
  Trustee, Suncoast First Trust                                 Institute for Justice
                                                                901 N Glebe Rd Ste 900
                                                                Arlington, VA 22203
                                                                703−682−9320
                                                                Fax: 703−682−9321
                                                                Email: andrew.ward@ij.org
                                                                LEAD ATTORNEY
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                 Ari Simon Bargil
                                                                 Institute for Justice
                                                                 2 S Biscayne Blvd Ste 3180
                                                                 Miami, FL 33131
                                                                 305−721−1600
                                                                 Fax: 305−721−1601
                                                                 Email: abargil@ij.org
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Justin M. Pearson
                                                                 Institute for Justice
                                                                 Suite 3180
                                                                 2 South Biscayne Boulevard
                                                                 Miami, FL 33131
                                                                 305/721−1600
                                                                 Fax: 305/721−1601
                                                                 Email: jpearson@ij.org
                                                                 TERMINATED: 10/10/2019
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

  Plaintiff
  Suncoast First Trust                           represented by Andrew H. Ward
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                PRO HAC VICE

                                                                                                           1
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                                                     ATTORNEY TO BE NOTICED

                                                     Ari Simon Bargil
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Justin M. Pearson
                                                     (See above for address)
                                                     TERMINATED: 10/10/2019
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED


  V.
  Defendant
  City of Dunedin, Florida            represented by Jay Daigneault
                                                     Trask, Metz & Daigneault LLP
                                                     1001 S Fort Harrison Ave, Ste 201
                                                     Clearwater, FL 33756
                                                     727/733−0494
                                                     Fax: 727/733−2991
                                                     Email: jay@cityattorneys.legal
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Randol D. Mora
                                                     Trask Daigneault LLP
                                                     1001 S. Ft. Harrison Ave., Ste. 201
                                                     Clearwater, FL 33756
                                                     727−733−0494
                                                     Fax: 727−733−2991
                                                     Email: randy@cityattorneys.legal
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

  Defendant
  Dunedin Code Enforcement Board      represented by Jay Daigneault
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Randol D. Mora
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

  Defendant
  Michael Bowman                      represented by Jay Daigneault
  in his official capacity as Code                   (See above for address)


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  Enforcement Board Chairman                                LEAD ATTORNEY
  TERMINATED: 09/30/2020                                    ATTORNEY TO BE NOTICED

                                                            Randol D. Mora
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Defendant
  Lowell Suplicki                               represented by Jay Daigneault
  in his official capacity as Code                             (See above for address)
  Enforcement Board Vice−Chair                                 LEAD ATTORNEY
  TERMINATED: 09/30/2020                                       ATTORNEY TO BE NOTICED

                                                            Randol D. Mora
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Defendant
  Arlene Graham                                 represented by Jay Daigneault
  in her official capacity as a member of                      (See above for address)
  the Code Enforcement Board                                   LEAD ATTORNEY
  TERMINATED: 09/30/2020                                       ATTORNEY TO BE NOTICED

                                                            Randol D. Mora
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Defendant
  Ken Carson                                    represented by Jay Daigneault
  in his official capacity as a member of the                  (See above for address)
  Code Enforcement Board                                       LEAD ATTORNEY
  TERMINATED: 09/30/2020                                       ATTORNEY TO BE NOTICED

                                                            Randol D. Mora
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Defendant
  William Motley                                represented by Jay Daigneault
  in his official capacity as a member of the                  (See above for address)
  Code Enforcement Board                                       LEAD ATTORNEY
  TERMINATED: 09/30/2020                                       ATTORNEY TO BE NOTICED

                                                            Randol D. Mora
                                                            (See above for address)
                                                            LEAD ATTORNEY


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                                                                   ATTORNEY TO BE NOTICED

  Defendant
  Dave Pauley                                       represented by Jay Daigneault
  in his official capacity as a member of the                      (See above for address)
  Code Enforcement Board                                           LEAD ATTORNEY
  TERMINATED: 09/30/2020                                           ATTORNEY TO BE NOTICED

                                                                   Randol D. Mora
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

  Defendant
  Bunny Dutton                                      represented by Jay Daigneault
  in her official capacity as a member of                          (See above for address)
  the Code Enforcement Board                                       LEAD ATTORNEY
  TERMINATED: 09/30/2020                                           ATTORNEY TO BE NOTICED

                                                                   Randol D. Mora
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED


   Date Filed      #    Page Docket Text
   05/17/2019       1          COMPLAINT and NOTICE OF REMOVAL from the 6th Judicial Circuit in
                               and for Pinellas County, Florida, case number 19−003181−CI filed in State
                               Court on 5/7/2019. Filing fee $ 400, receipt number TPA05616 filed by Lowell
                               Suplicki, Bunny Dutton, City of Dunedin, Florida, Arlene Graham, William
                               Motley, Ken Carson, Dunedin Code Enforcement Board, Dave Pauley, Michael
                               Bowman. (Attachments: # 1 State Court COMPLAINT, # 2 Exhibit State
                               Complaint, # 3 State Court Pending Motions, # 4 State Court Other Documents,
                               # 5 Civil Cover Sheet)(CTR) (Entered: 05/20/2019)
   05/20/2019       2          RELATED CASE ORDER AND NOTICE of designation under Local Rule
                               3.05 − track 2. Notice of pendency of other actions due by 6/3/2019. Signed
                               by Judge Charlene Edwards Honeywell on 5/20/2019. (BGS) (Entered:
                               05/20/2019)
   05/20/2019       3          INTERESTED PERSONS ORDER. Certificate of interested persons and
                               corporate disclosure statement due by 6/3/2019. Signed by Judge Charlene
                               Edwards Honeywell on 5/20/2019. (BGS) (Entered: 05/20/2019)
   05/21/2019       4          NOTICE to counsel of Local Rule 2.01 (signed by deputy clerk). (CTR)
                               (Entered: 05/21/2019)
   05/21/2019       5          NOTICE to counsel of Local Rule 2.02 (signed by deputy clerk). (CTR)
                               (Entered: 05/21/2019)
   05/24/2019       6          NOTICE of Appearance by Justin M. Pearson on behalf of James Ficken,
                               Suncoast First Trust (Pearson, Justin) (Entered: 05/24/2019)


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   05/28/2019    7     NOTICE by Michael Bowman, Ken Carson, City of Dunedin, Florida, Dunedin
                       Code Enforcement Board, Bunny Dutton, Arlene Graham, William Motley,
                       Dave Pauley, Lowell Suplicki re 1 Notice of Removal (Attachments: # 1
                       Supplement)(Daigneault, Jay) (Entered: 05/28/2019)
   05/28/2019    8     Unopposed MOTION for Andrew H. Ward to appear pro hac vice by James
                       Ficken, Suncoast First Trust. (Pearson, Justin) Motions referred to Magistrate
                       Judge Sean P. Flynn. (Entered: 05/28/2019)
   05/28/2019    9     ENDORSED ORDER granting 8 motion to appear pro hac vice. Attorney
                       Andrew H. Ward may appear pro hac vice on behalf of Plaintiffs, with
                       Attorney Justin M. Pearson designated as local counsel pursuant to Local
                       Rule 2.02(a). Please note that a local attorney must also be present for any
                       evidentiary hearing before the district judge and during trial. Within
                       twenty−one (21) days of the date of this Order, counsel shall comply with
                       the electronic filing requirement and file a notice of compliance with said
                       requirement. Signed by Magistrate Judge Sean P. Flynn on 5/28/2019.
                       (CKR) (Entered: 05/28/2019)
   05/31/2019          ***PRO HAC VICE FEES paid by attorney Andrew H. Ward (Filing fee $150
                       receipt number TPA056734.) Related document: 8 Unopposed MOTION for
                       Andrew H. Ward to appear pro hac vice. (ARC) (Entered: 05/31/2019)
   06/03/2019          Mail returned as Undeliverable/Not Deliverable as Addressed from Institute for
                       Justice Florida Chapter,Suite 720, 999 Brickell Ave,Miami, FL 33131 re: 4
                       Notice to counsel of Local Rule. Mail not resent to Ari Simon Bargil. (CTR)
                       (Entered: 06/03/2019)
   06/03/2019   10     NOTICE of pendency of related cases re 2 Related case order and track 2 notice
                       per Local Rule 1.04(d) by James Ficken. Related case(s): Yes (Pearson, Justin)
                       (Entered: 06/03/2019)
   06/03/2019   11     CERTIFICATE of interested persons and corporate disclosure statement re 3
                       Interested persons order by James Ficken. (Pearson, Justin) (Entered:
                       06/03/2019)
   06/05/2019   12     CERTIFICATE of interested persons and corporate disclosure statement re 3
                       Interested persons order by Michael Bowman, Ken Carson, City of Dunedin,
                       Florida, Dunedin Code Enforcement Board, Bunny Dutton, Arlene Graham,
                       William Motley, Dave Pauley, Lowell Suplicki. (Daigneault, Jay) (Entered:
                       06/05/2019)
   06/10/2019          Mail returned as Undeliverable/Attempted−Not Known from Institute for
                       Justice Florida Chapter Suite 720 999 Brickell Ave, Miami, FL 33131 re: 9
                       Order on motion to appear pro hac vice. Mail not resent to Ari Simon Bargil.
                       (CTR) (Entered: 06/10/2019)
   06/13/2019          Mail returned as Undeliverable/ Unable to Forward from Suite 720 999 Brickell
                       Ave, Miami, FL 33131 re: 3 Interested persons order, 2 Related case order and
                       track 2 notice. Mail not resent to Ari Simon Bargil. (Spoke to assistant to enter
                       a change of address (This address in system since 2013)) (CTR) (Entered:
                       06/13/2019)
   06/14/2019   13     NOTICE of compliance re 9 Order on motion to appear pro hac vice Notice of
                       Compliance with Electronic Filing Requirement by James Ficken (Ward,


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                       Andrew) (Entered: 06/14/2019)
   07/15/2019   14     CASE MANAGEMENT REPORT. (Ward, Andrew) (Entered: 07/15/2019)
   07/22/2019   15     MOTION to Dismiss Plaintiffs' Complaint and Incorporated Memorandum of
                       Law by All Defendants. (Daigneault, Jay) (Entered: 07/22/2019)
   07/22/2019   16     MOTION to Strike 1 Notice of Removal Plaintiffs' Complaint by All
                       Defendants. (Daigneault, Jay) Motions referred to Magistrate Judge Sean P.
                       Flynn. (Entered: 07/22/2019)
   08/05/2019   17     CASE MANAGEMENT AND SCHEDULING ORDER: Discovery due by
                       3/6/2020, Dispositive motions due by 4/10/2020, Pretrial statement due by
                       8/18/2020, All other motions due by 8/25/2020, Final Pretrial Conference
                       set for 9/15/2020 at 3:30 PM in Tampa Courtroom 13A before Judge
                       Charlene Edwards Honeywell, Bench Trial set for term commencing
                       10/5/2020 in Tampa Courtroom 13A before Judge Charlene Edwards
                       Honeywell. Conduct mediation hearing by 12/13/2019. Lead counsel to
                       coordinate dates. Signed by Judge Charlene Edwards Honeywell on
                       8/5/2019. (BGS) (Entered: 08/05/2019)
   08/05/2019   18     RESPONSE in Opposition re 15 MOTION to Dismiss Plaintiffs' Complaint and
                       Incorporated Memorandum of Law filed by James Ficken, Suncoast First Trust.
                       (Bargil, Ari) (Entered: 08/05/2019)
   08/05/2019   19     RESPONSE in Opposition re 16 MOTION to Strike 1 Notice of Removal
                       Plaintiffs' Complaint filed by James Ficken, Suncoast First Trust. (Ward,
                       Andrew) (Entered: 08/05/2019)
   08/09/2019   20     NOTICE of unavailability of counsel by James Ficken, Suncoast First Trust
                       from August 23 to September 9, 2019 and September 18−20, 2019. (Bargil,
                       Ari) (Entered: 08/09/2019)
   08/16/2019   21     NOTICE OF SELECTION of Hon. Melvia B. Green as mediator by James
                       Ficken, Suncoast First Trust. (Bargil, Ari) (Entered: 08/16/2019)
   09/27/2019   22     AMENDED COMPLAINT against Michael Bowman, Ken Carson, City of
                       Dunedin, Florida, Dunedin Code Enforcement Board, Bunny Dutton, Arlene
                       Graham, William Motley, Dave Pauley, Lowell Suplicki filed by Suncoast First
                       Trust, James Ficken.(Bargil, Ari) (Entered: 09/27/2019)
   09/27/2019   23     ENDORSED ORDER denying as moot 16 Defendants' Motion to Strike
                       and Incorporated Memorandum of Law; denying as moot 15 Defendants'
                       Dispositive Motion to Dismiss Complaint and Incorporated Memorandum
                       of Law. Plaintiffs filed an amended complaint on September 27, 2019
                       which supersedes the original complaint. Signed by Judge Charlene
                       Edwards Honeywell on 9/27/2019. (BGS) (Entered: 09/27/2019)
   09/30/2019   24     MOTION to Dismiss Amended Complaint by Michael Bowman, Ken Carson,
                       City of Dunedin, Florida, Dunedin Code Enforcement Board, Bunny Dutton,
                       Arlene Graham, William Motley, Dave Pauley, Lowell Suplicki. (Daigneault,
                       Jay) (Entered: 09/30/2019)
   09/30/2019   25     MOTION to Strike and Incorporated Memorandum of Law by All Defendants.
                       (Daigneault, Jay) Motions referred to Magistrate Judge Sean P. Flynn. (Entered:
                       09/30/2019)


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   10/04/2019   26     NOTICE of mediation conference/hearing to be held on November 15, 2019 at
                       9:30 a.m. before Hon. Melvia B. Green. (Bargil, Ari) (Entered: 10/04/2019)
   10/04/2019   27     SECOND NOTICE to counsel Randy Mora of Local Rule 2.01, General
                       Admission to Practice, which states − No person shall be permitted to appear
                       or be heard as counsel for another in any proceeding in this Court unless first
                       admitted to practice in the Court pursuant to this rule (or heretofore admitted
                       under prior rules of the Court). Apply for membership to the bar of this Court
                       at www.flmd.uscourts.gov (Signed by Deputy Clerk). (CTR) (Entered:
                       10/04/2019)
   10/10/2019   28     Unopposed MOTION for Justin M. Pearson to withdraw as attorney for
                       Plaintiffs by James Ficken, Suncoast First Trust. (Pearson, Justin) Motions
                       referred to Magistrate Judge Sean P. Flynn. (Entered: 10/10/2019)
   10/10/2019   29     ENDORSED ORDER granting 28 Motion to Withdraw as Attorney.
                       Attorney Justin M. Pearson terminated. Signed by Magistrate Judge Sean
                       P. Flynn on 10/10/2019. (Flynn, Sean) (Entered: 10/10/2019)
   10/14/2019   30     RESPONSE in Opposition re 25 MOTION to Strike and Incorporated
                       Memorandum of Law filed by James Ficken, Suncoast First Trust. (Ward,
                       Andrew) (Entered: 10/14/2019)
   10/14/2019   31     RESPONSE in Opposition re 24 MOTION to Dismiss Amended Complaint
                       filed by James Ficken, Suncoast First Trust. (Bargil, Ari) (Entered: 10/14/2019)
   11/18/2019   32     MEDIATION report Hearing held on November 15, 2019. Hearing outcome:
                       Impasse.. (Daigneault, Jay) (Entered: 11/18/2019)
   01/17/2020   33     MOTION to Compel Production of Documents and Interrogatory Responses by
                       City of Dunedin, Florida. (Attachments: # 1 Exhibit James Ficken deposition of
                       September 25, 2019)(Daigneault, Jay) Motions referred to Magistrate Judge
                       Sean P. Flynn. (Entered: 01/17/2020)
   01/30/2020   34     MEMORANDUM in opposition re 33 Motion to Compel filed by James
                       Ficken, Suncoast First Trust. (Attachments: # 1 Affidavit / Declaration of Ari S.
                       Bargil with Exhibits A−E)(Bargil, Ari) (Entered: 01/30/2020)
   01/30/2020   35     NOTICE of unavailability of counsel by James Ficken, Suncoast First Trust
                       from March 19, 2020 to March 23, 2020. (Bargil, Ari) (Entered: 01/30/2020)
   02/21/2020   36     MOTION to Compel Production of Documents and Interrogatory Responses by
                       All Plaintiffs. (Attachments: # 1 Affidavit /Declaration of Andrew H. Ward
                       with Exhibits A−G)(Ward, Andrew) Motions referred to Magistrate Judge Sean
                       P. Flynn. (Entered: 02/21/2020)
   03/04/2020   37     Unopposed MOTION for Extension of Time to File Response/Reply as to 36
                       MOTION to Compel Production of Documents and Interrogatory Responses by
                       City of Dunedin, Florida. (Daigneault, Jay) Motions referred to Magistrate
                       Judge Sean P. Flynn. (Entered: 03/04/2020)
   03/04/2020   38     ENDORSED ORDER granting 37 Motion for Extension of Time to File
                       Response / Reply re 36 MOTION to Compel Production of Documents and
                       Interrogatory Responses. Response due by 3/13/2020. Signed by Magistrate
                       Judge Sean P. Flynn on 3/4/2020. (Flynn, Sean) (Entered: 03/04/2020)



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   03/05/2020   39     ORDER granting 33 Defendant's Motion to Compel Production of
                       Documents and Interrogatory Responses. Signed by Magistrate Judge Sean
                       P. Flynn on 3/5/2020. (CKR) (Entered: 03/05/2020)
   03/06/2020   40     Second MOTION to Compel Production of Documents by James Ficken,
                       Suncoast First Trust. (Attachments: # 1 Declaration of Andrew H. Ward (with
                       Exhibit))(Ward, Andrew) Motions referred to Magistrate Judge Sean P. Flynn.
                       (Entered: 03/06/2020)
   03/13/2020   41     RESPONSE to Motion re 36 MOTION to Compel Production of Documents
                       and Interrogatory Responses , 40 Second MOTION to Compel Production of
                       Documents filed by Michael Bowman, Ken Carson, City of Dunedin, Florida,
                       Dunedin Code Enforcement Board, Bunny Dutton, Arlene Graham, William
                       Motley, Dave Pauley, Lowell Suplicki. (Daigneault, Jay) (Entered: 03/13/2020)
   04/10/2020   42     MOTION for Summary Judgment Dispositive Motion by All Defendants.
                       (Attachments: # 1 Exhibit Ficken Depo Part 1 of 3, # 2 Exhibit Ficken Depo
                       Part 2 of 3, # 3 Exhibit Ficken Depo Part 3 of 3, # 4 Affidavit McHale, # 5
                       Exhibit Kepto Depo, # 6 Exhibit CEB Hearing 05−05−15, # 7 Exhibit Colbert
                       Depo, # 8 Affidavit Mendez, # 9 Exhibit CEB Hearing Transcript 09−04−18, #
                       10 Exhibit CEB Hearing Transcript 11−06−18, # 11 Exhibit Trask Depo Part 1,
                       # 12 Exhibit Trask Depo Part 2, # 13 Affidavit Causey, # 14 Affidavit Dunn, #
                       15 Affidavit Watkins)(Daigneault, Jay) Motions referred to Magistrate Judge
                       Sean P. Flynn. (Entered: 04/10/2020)
   04/10/2020   43     MOTION for Summary Judgment Dispositive by James Ficken, Suncoast First
                       Trust. (Attachments: # 1 Index of Exhibits, # 2 Affidavit /Declaration of James
                       Ficken, # 3 Exhibit 1 to Ficken Decl., # 4 Exhibit 2 to Ficken Decl., # 5 Exhibit
                       3 to Ficken Decl., # 6 Exhibit 4 to Ficken Decl., # 7 Exhibit 5 to Ficken Decl., #
                       8 Exhibit 6 to Ficken Decl., # 9 Exhibit 7 to Ficken Decl., # 10 Exhibit 8 to
                       Ficken Decl., # 11 Exhibit 9 to Ficken Decl., # 12 Exhibit 10 to Ficken Decl., #
                       13 Exhibit 11 to Ficken Decl., # 14 Exhibit 12 to Ficken Decl., # 15 Exhibit 13
                       to Ficken Decl., # 16 Affidavit /Declaration of Ari S. Bargil, # 17 Exhibit 1 to
                       Bargil Decl., # 18 Exhibit 2 to Bargil Decl., # 19 Exhibit 3 to Bargil Decl., # 20
                       Exhibit 4 to Bargil Decl., # 21 Exhibit 5 to Bargil Decl., # 22 Exhibit 6 to
                       Bargil Decl., # 23 Exhibit 7 to Bargil Decl., # 24 Exhibit 8 to Bargil Decl., # 25
                       Exhibit 9 to Bargil Decl., # 26 Exhibit 10 to Bargil Decl., # 27 Exhibit 11 to
                       Bargil Decl., # 28 Exhibit 12 to Bargil Decl., # 29 Exhibit 13 to Bargil Decl., #
                       30 Exhibit 14 to Bargil Decl., # 31 Exhibit 15 to Bargil Decl., # 32 Exhibit 16
                       to Bargil Decl.)(Bargil, Ari) Motions referred to Magistrate Judge Sean P.
                       Flynn. (Entered: 04/10/2020)
   04/13/2020   44     SUMMARY JUDGMENT NOTICE. (BGS) (Entered: 04/13/2020)
   04/13/2020   45     STANDING ORDER: Filing of documents that exceed twenty−five pages.
                       1. Plaintiffs are directed to provide to Chambers, in a binder, a courtesy
                       copy of the Dispositive Motion for Summary Judgment and Incorporated
                       Memorandum of Law 43 (including exhibits) within TEN (10) DAYS from
                       the date of this Order. 2. Defendants are directed to provide to Chambers,
                       in a binder, a courtesy copy of the Dispositive Motion for Summary
                       Judgment and Incorporated Memorandum of Law 42 (including exhibits)
                       within TEN (10) DAYS from the date of this Order. Signed by Judge
                       Charlene Edwards Honeywell on 4/13/2020. (BGS) (Entered: 04/13/2020)



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    04/17/2020   46    NOTICE by Michael Bowman, Ken Carson, City of Dunedin, Florida, Dunedin
                       Code Enforcement Board, Bunny Dutton, Arlene Graham, William Motley,
                       Dave Pauley, Lowell Suplicki Notice to the Court of Pending Dispositive
                       Motion to Dismiss (Daigneault, Jay) (Entered: 04/17/2020)
    04/21/2020   47    NOTICE by Michael Bowman, Ken Carson, City of Dunedin, Florida, Dunedin
                       Code Enforcement Board, Bunny Dutton, Arlene Graham, William Motley,
                       Dave Pauley, Lowell Suplicki re 42 MOTION for Summary Judgment
                       Dispositive Motion (Attachments: # 1 Exhibit Plaintiff's Supplemental
                       Responses to City of Dunedin's Second Set of Interrogatories, # 2 Exhibit
                       Dunedin Code Enforcement Board Rules of Procedure)(Daigneault, Jay)
                       (Entered: 04/21/2020)
    04/22/2020   48    ORDERED: 1. Defendants' Dispositive Motion to Dismiss Amended
                       Complaint and Incorporated Memorandum of Law 24 is DENIED.
                       Defendants shall answer the Amended Complaint on or before May 6,
                       2020. 2. Defendants' Motion to Strike and Incorporated Memorandum of
                       Law 25 is DENIED. Signed by Judge Charlene Edwards Honeywell on
                       4/22/2020. (GLP) (Entered: 04/22/2020)
    04/24/2020   49    RESPONSE to Motion re 43 MOTION for Summary Judgment Dispositive
                       Motion for Summary Judgment and Incorporated Memorandum of Law filed by
                       Michael Bowman, Ken Carson, City of Dunedin, Florida, Dunedin Code
                       Enforcement Board, Bunny Dutton, Arlene Graham, William Motley, Dave
                       Pauley, Lowell Suplicki. (Daigneault, Jay) (Entered: 04/24/2020)
    04/24/2020   50    NOTICE of TELEPHONIC hearing on 36 Plaintiff's MOTION to Compel
                       Production of Documents and Interrogatory Responses, 40 Second MOTION to
                       Compel Production of Documents. Telephonic Motion Hearing set for 5/6/2020
                       at 10:00 AM before Magistrate Judge Sean P. Flynn. (CKR) (Entered:
                       04/24/2020)
    04/24/2020   51    RESPONSE in Opposition re 42 MOTION for Summary Judgment Dispositive
                       Motion filed by James Ficken, Suncoast First Trust. (Attachments: # 1 Index of
                       Exhibits, # 2 Affidavit /Declaration of Ari S. Bargil, # 3 Exhibit 1 to Bargil
                       Decl., # 4 Exhibit 2 to Bargil Decl., # 5 Exhibit 3 to Bargil Decl., # 6 Exhibit 4
                       to Bargil Decl.)(Bargil, Ari) (Entered: 04/24/2020)
    05/06/2020   52    Minute Entry. Proceedings held before Magistrate Judge Sean P. Flynn:
                       MOTION HEARING held on 5/6/2020 re 36 MOTION to Compel Production
                       of Documents and Interrogatory Responses filed by James Ficken, Suncoast
                       First Trust, 40 Second MOTION to Compel Production of Documents filed by
                       James Ficken, Suncoast First Trust. (DIGITAL) (LYB) (Entered: 05/06/2020)
    05/06/2020   53    ORDER granting in part and denying in part 36 Plaintiffs' Motion to
                       Compel Production of Documents and Interrogatory Responses and 40
                       Second Motion to Compel Production of Documents. Signed by Magistrate
                       Judge Sean P. Flynn on 5/6/2020. (CKR) (Entered: 05/06/2020)
    05/06/2020   54    Defendants' ANSWER and affirmative defenses to 22 Amended Complaint by
                       Michael Bowman, Ken Carson, City of Dunedin, Florida, Dunedin Code
                       Enforcement Board, Bunny Dutton, Arlene Graham, William Motley, Dave
                       Pauley, Lowell Suplicki.(Daigneault, Jay) (Entered: 05/06/2020)
    05/29/2020   55


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                       Unopposed MOTION to Supplement the Record on Summary Judgment with
                       Additional Exhibits by James Ficken, Suncoast First Trust. (Attachments: # 1
                       Affidavit / Declaration of Ari S. Bargil, # 2 Exhibit A to Bargil Declaration, # 3
                       Exhibit B to Bargil Declaration, # 4 Exhibit C to Bargil Declaration, # 5 Exhibit
                       D to Bargil Declaration)(Bargil, Ari) (Entered: 05/29/2020)
    06/09/2020   56    ENDORSED ORDER granting 55 Plaintiff's Unopposed Motion for Leave
                       to Supplement the Record on Summary Judgment with Additional
                       Exhibits. Signed by Judge Charlene Edwards Honeywell on 6/9/2020.
                       (GLP) (Entered: 06/09/2020)
    06/09/2020   57    TRANSCRIPT of Electronically Recorded Telephonic Motion Hearing held on
                       05/06/2020 before Judge Sean P. Flynn. Court Reporter/Transcriber Rebekah
                       Lockwood,Telephone number (813) 317.8286, e−mail:
                       r.lockwooduscr@gmail.com. Tape Number: FTR. Transcript may be viewed at
                       the court public terminal or purchased through the Court Reporter/Transcriber
                       before the deadline for Release of Transcript Restriction. After that date it may
                       be obtained through PACER or purchased through the Court Reporter.
                       Redaction Request due 6/30/2020, Redacted Transcript Deadline set for
                       7/10/2020, Release of Transcript Restriction set for 9/8/2020. (RML) (Entered:
                       06/09/2020)
    06/09/2020   58    NOTICE to counsel of filing of OFFICIAL TRANSCRIPT of Electronically
                       Recorded Telephonic Motion Hearing held on 05/06/2020 before Judge Sean P.
                       Flynn. The parties have seven (7) calendar days to file with the court a Notice
                       of Intent to Request Redaction of this transcript. If no such Notice is filed, the
                       transcript may be made remotely electronically available to the public without
                       redaction after 90 calendar days. Any party needing a copy of the transcript to
                       review for redaction purposes may purchase a copy from the court reporter or
                       view the document at the clerk's office public terminal. Court Reporter:
                       Rebekah Lockwood. (RML) (Entered: 06/09/2020)
    07/17/2020   59    ORDER: The parties shall file a stipulation of agreed material facts within
                       FOURTEEN (14) DAYS from the date of this Order. Signed by Judge
                       Charlene Edwards Honeywell on 7/17/2020. (GLP) (Entered: 07/17/2020)
    07/24/2020   60    Joint MOTION to Continue Joint Final Pretrial Statement by James Ficken,
                       Suncoast First Trust. (Bargil, Ari) (Entered: 07/24/2020)
    07/24/2020   61    ENDORSED ORDER denying without prejudice for failure to comply with
                       Local Rule 3.01(a) 60 Joint Motion to Continue Joint Final Pretrial
                       Statement. The motion lacks a memorandum of legal authority in support
                       of its request. Local R. M.D. Fla. 3.01(a). Signed by Judge Charlene
                       Edwards Honeywell on 7/24/2020. (GLP) (Entered: 07/24/2020)
    07/29/2020   62    Joint MOTION to Continue Joint Final Pretrial Statement and Incorporated
                       Memorandum of Law by James Ficken, Suncoast First Trust. (Bargil, Ari)
                       (Entered: 07/29/2020)
    07/29/2020   63    STATEMENT of undisputed facts re: 59 Order pdf Joint Statement of
                       Undisputed Facts for Cross−Motions for Summary Judgment by James Ficken,
                       Suncoast First Trust.. (Bargil, Ari) (Entered: 07/29/2020)
    07/29/2020   64    ENDORSED ORDER granting 62 Joint Motion to Continue Joint Pretrial
                       Statement and Incorporated Memorandum of Law. The deadline for the


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                       parties to meet to prepare their joint final pretrial statement is extended to,
                       and including, August 28, 2020. The parties may meet by video conference.
                       Further, the deadline for the parties to submit their joint pretrial statement
                       is extended to, and including, September 8, 2020. Signed by Judge
                       Charlene Edwards Honeywell on 7/29/2020. (GLP) (Entered: 07/29/2020)
    08/20/2020   65    Joint MOTION to Vacate 17 Case management and scheduling order, 64 Order
                       on Motion to Continue Pretrial Schedule Pending Decision on Cross−Motions
                       for Summary Judgment by All Plaintiffs. (Attachments: # 1 Affidavit /
                       Declaration of Ari S. Bargil)(Bargil, Ari) (Entered: 08/20/2020)
    08/25/2020   66    MOTION In Limine and Incorporated Memorandum of Law by James Ficken,
                       Suncoast First Trust. (Bargil, Ari) (Entered: 08/25/2020)
    08/25/2020   67    MOTION In Limine regarding exclusion of evidence by All Defendants. (Mora,
                       Randol) (Entered: 08/25/2020)
    08/28/2020   68    ORDER: The remaining pretrial deadlines, pretrial conference and
                       October 2020 non−jury trial are stayed or cancelled pending resolution of
                       the parties' cross−motions for summary judgment (Docs. 42, 43). The
                       Court will re−schedule the pretrial conference and non−jury trial, if
                       needed, after these pending motions have been resolved. Signed by Judge
                       Charlene Edwards Honeywell on 8/28/2020. (BGS) (Entered: 08/28/2020)
    08/28/2020   69    NOTICE canceling Final Pretrial Conference hearing scheduled for September
                       15, 2020 and Jury Trial set for term commencing October 5, 2020. (BGS)
                       (Entered: 08/28/2020)
    08/28/2020   70    ENDORSED ORDER denying as moot 65 Joint Motion to Vacate Pretrial
                       Schedule Pending Decision on Cross−Motions for Summary Judgment and
                       Incorporated Memorandum of Law. Signed by Judge Charlene Edwards
                       Honeywell on 8/28/2020. (BGS) (Entered: 08/28/2020)
    08/28/2020   71    NOTICE OF ORAL ARGUMENT on Motions re 42 MOTION for Summary
                       Judgment Dispositive Motion, 43 MOTION for Summary Judgment
                       Dispositive. Oral Argument set for 9/11/2020 at 11:00 AM in Tampa
                       Courtroom 13A before Judge Charlene Edwards Honeywell. The hearing
                       scheduled for SEPTEMBER 11, 2020 will be conducted via ZOOM VIDEO
                       CONFERENCE. The Clerk will be sending everyone an invitation to the
                       meeting via email. If you have any questions, please contact courtroom deputy,
                       Bettye Samuel, at Bettye_Samuel@flmd.uscourts.gov. Although the hearing is
                       taking place by video, all parties should dress appropriately for this Court
                       proceeding. Furthermore, the parties are hereby reminded that under Local Rule
                       4.11(b) the taking of photographs, the operation of recording or transmission
                       devices, and the broadcasting or televising of proceedings in any courtroom or
                       hearing room of this Court, or the environs thereof, either while the Court is in
                       session or at recesses between sessions when Court officials, lawyers, jurors,
                       witnesses or other persons connected with judicial proceedings of any kind are
                       present, are prohibited. (BGS) (Entered: 08/28/2020)
    09/01/2020   72    NOTICE OF RESCHEDULING ORAL ARGUMENT (AS TO TIME ONLY):
                       The Oral Argument hearing previously scheduled for September 11, 2020 is
                       rescheduled. NEW HEARING TIME: Oral Argument set for 9/11/2020 at
                       10:00 AM in Tampa Courtroom 13A before Judge Charlene Edwards
                       Honeywell. The hearing scheduled for SEPTEMBER 11, 2020 will be

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                       conducted via ZOOM VIDEO CONFERENCE. The Clerk will be sending
                       everyone an invitation to the meeting via email. If you have any questions,
                       please contact courtroom deputy, Bettye Samuel, at
                       Bettye_Samuel@flmd.uscourts.gov. Although the hearing is taking place by
                       video, all parties should dress appropriately for this Court proceeding.
                       Furthermore, the parties are hereby reminded that under Local Rule 4.11(b) the
                       taking of photographs, the operation of recording or transmission devices, and
                       the broadcasting or televising of proceedings in any courtroom or hearing room
                       of this Court, or the environs thereof, either while the Court is in session or at
                       recesses between sessions when Court officials, lawyers, jurors, witnesses or
                       other persons connected with judicial proceedings of any kind are present, are
                       prohibited. (BGS) (Entered: 09/01/2020)
    09/02/2020   73    Unopposed MOTION to Continue Reschedule Oral Argument presently set for
                       September 11, 2020 by All Defendants. (Daigneault, Jay) (Entered: 09/02/2020)
    09/02/2020   74    ENDORSED ORDER granting 73 Defendants' Unopposed Motion to
                       Reschedule Oral Argument Presently Set for September 11, 2020. The
                       hearing will be rescheduled by separate notice. Signed by Judge Charlene
                       Edwards Honeywell on 9/2/2020. (GLP) (Entered: 09/02/2020)
    09/03/2020   75    NOTICE OF RESCHEDULING ORAL ARGUMENT HEARING: The Oral
                       Argument hearing previously scheduled for September 11, 2020 is rescheduled.
                       NEW SCHEDULING DATE AND TIME: Oral Argument set for 9/28/2020 at
                       11:00 AM in Tampa Courtroom 13A before Judge Charlene Edwards
                       Honeywell. The hearing scheduled for SEPTEMBER 28, 2020 will be
                       conducted via ZOOM VIDEO CONFERENCE. The Clerk will be sending
                       everyone an invitation to the meeting via email. If you have any questions,
                       please contact courtroom deputy, Bettye Samuel, at
                       Bettye_Samuel@flmd.uscourts.gov. Although the hearing is taking place by
                       video, all parties should dress appropriately for this Court proceeding.
                       Furthermore, the parties are hereby reminded that under Local Rule 4.11(b) the
                       taking of photographs, the operation of recording or transmission devices, and
                       the broadcasting or televising of proceedings in any courtroom or hearing room
                       of this Court, or the environs thereof, either while the Court is in session or at
                       recesses between sessions when Court officials, lawyers, jurors, witnesses or
                       other persons connected with judicial proceedings of any kind are present, are
                       prohibited.(BGS) (Entered: 09/03/2020)
    09/28/2020   76    Minute Entry. Proceedings held before Judge Charlene Edwards Honeywell:
                       MOTION HEARING held on 9/28/2020 re 42 MOTION for Summary
                       Judgment Dispositive Motion filed by Ken Carson, Arlene Graham, Lowell
                       Suplicki, Dunedin Code Enforcement Board, Dave Pauley, City of Dunedin,
                       Florida, William Motley, Bunny Dutton, Michael Bowman, 43 MOTION for
                       Summary Judgment Dispositive filed by James Ficken, Suncoast First Trust.
                       Court Reporter: Sharon A. Miller (BGS) (Entered: 09/28/2020)
    09/30/2020   77    AMENDED COMPLAINT (Second Amended Complaint) against City of
                       Dunedin, Florida, Dunedin Code Enforcement Board filed by Suncoast First
                       Trust, James Ficken.(Bargil, Ari) (Entered: 09/30/2020)
    10/05/2020   78    ENDORSED ORDER denying as moot 42 Defendants' Dispositive Motion
                       for Summary Judgment and Incorporated Memorandum of Law; denying
                       as moot 43 Plaintiffs' Dispositive Motion for Summary Judgment and

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                       Incorporated Memorandum of Law. In accordance with the Court's ruling
                       at the hearing on September 28, 2020, Plaintiffs have filed a second
                       amended complaint. Signed by Judge Charlene Edwards Honeywell on
                       10/5/2020. (GLP) (Entered: 10/05/2020)
    10/06/2020   79    ANSWER and affirmative defenses to 77 Amended Complaint Second
                       Amended Complaint by City of Dunedin, Florida, Dunedin Code Enforcement
                       Board.(Daigneault, Jay) (Entered: 10/06/2020)
    10/12/2020   80    Joint MOTION for Miscellaneous Relief, specifically to Renew Summary
                       Judgment Briefing by James Ficken, Suncoast First Trust. (Attachments: # 1
                       Defendants' Dispositive Motion for Summary Judgment and Memo of Law with
                       Parts 1 and 2 of Ficken Deposition (ECF Nos. 42, 42−1, and 42−2), # 2 Ficken
                       Deposition Part 3 of 3 (ECF No. 42−3), # 3 Affidavit of Joan McHale (ECF No.
                       42−4), # 4 Kepto Deposition (ECF No. 42−5), # 5 May 2015 CEB Hearing
                       Transcript, Colbert Deposition, Mendez Affidavit, Sept. and Nov. 2018 CEB
                       Hearing Transcripts (ECF Nos. 42−6 through 42−10), # 6 Trask Deposition
                       Transcript Part 1 of 2 (ECF No. 42−11), # 7 Trask Deposition Transcript Part 2
                       of 2 (ECF No. 42−12), # 8 Affidavits of Stacie Causey, Angela Dunne, and
                       Sherry Watkins (ECF Nos. 42−13, 42−14, 42−15), # 9 Defendants' Opposition
                       to Plaintiffs' Dispositive Motion for Summary Judgment (ECF No. 49), # 10
                       Plaintiffs' Motion for Summary Judgment and Ficken Declaration and Exhibits
                       (ECF Nos. 43, 43−1 through 43−15), # 11 Bargil Declaration and Exhibits
                       (ECF Nos. 43−16 through 43−32), # 12 Plaintiffs' Opposition to Defs' Motion
                       for Summary Judgment, Bargil Declaration and Exhibits (ECF Nos. 51, 51−1
                       through 51−6), # 13 Joint Statement of Undisputed Facts for Cross−Motions for
                       Summary Judgment (ECF No. 63))(Bargil, Ari) (Entered: 10/12/2020)
    10/14/2020   81    ENDORSED ORDER granting 80 Joint Motion to Renew Summary
                       Judgment Briefing. Oral argument will be scheduled by separate notice.
                       Signed by Judge Charlene Edwards Honeywell on 10/14/2020. (GLP)
                       (Entered: 10/14/2020)
    10/27/2020   82    NOTICE of Hearing on Motion re 42 MOTION for Summary Judgment
                       Dispositive Motion, 43 MOTION for Summary Judgment Dispositive. Motion
                       Hearing set for 11/16/2020 at 11:00 AM in Tampa Courtroom 13A before
                       Judge Charlene Edwards Honeywell. The hearing scheduled for NOVEMBER
                       16,2020 will be conducted via ZOOM VIDEO CONFERENCE. The Clerk will
                       be sending everyone an invitation to the meeting via email. If you have any
                       questions, please contact courtroom deputy, Bettye Samuel, at
                       Bettye_Samuel@flmd.uscourts.gov. Although the hearing is taking place by
                       video, all parties should dress appropriately for this Court proceeding.
                       Furthermore, the parties are hereby reminded that under Local Rule 4.11(b) the
                       taking of photographs, the operation of recording or transmission devices, and
                       the broadcasting or televising of proceedings in any courtroom or hearing room
                       of this Court, or the environs thereof, either while the Court is in session or at
                       recesses between sessions when Court officials, lawyers, jurors, witnesses or
                       other persons connected with judicial proceedings of any kind are present, are
                       prohibited.(BGS) (Entered: 10/27/2020)
    11/16/2020   83    Minute Entry. Proceedings held before Judge Charlene Edwards Honeywell:
                       MOTION HEARING held on 11/16/2020 re 42 MOTION for Summary
                       Judgment Dispositive Motion filed by Ken Carson, Arlene Graham, Lowell


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                       Suplicki, Dunedin Code Enforcement Board, Dave Pauley, City of Dunedin,
                       Florida, William Motley, Bunny Dutton, Michael Bowman, 43 MOTION for
                       Summary Judgment Dispositive filed by James Ficken, Suncoast First Trust.
                       Court Reporter: Sharon A. Miller (BGS) (Entered: 11/16/2020)
    12/04/2020   84    TRANSCRIPT of MOTION HEARING (Docs 42, 43) held on NOVEMBER
                       16,20202 before Judge CHARLENE EDWARDS HONEYWELL. Court
                       Reporter/Transcriber SHARON A. MILLER,Telephone number
                       813−301−5041. Transcript may be viewed at the court public terminal or
                       purchased through the Court Reporter/Transcriber before the deadline for
                       Release of Transcript Restriction. After that date it may be obtained through
                       PACER or purchased through the Court Reporter.. Redaction Request due
                       12/28/2020, Redacted Transcript Deadline set for 1/4/2021, Release of
                       Transcript Restriction set for 3/4/2021. (SAM) (Entered: 12/04/2020)
    12/04/2020   85    NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have
                       seven (7) calendar days to file with the court a Notice of Intent to Request
                       Redaction of this transcript. If no such Notice is filed, the transcript may be
                       made remotely electronically available to the public without redaction after 90
                       calendar days. Any party needing a copy of the transcript to review for
                       redaction purposes may purchase a copy from the court reporter or view the
                       document at the clerk's office public terminal. Court Reporter: Sharon A.
                       Miller. (SAM) (Entered: 12/04/2020)
    12/30/2020   86    ENDORSED ORDER ruling deferred 66 Motion in Limine; ruling
                       deferred 67 Motion in Limine. As a result of the coronavirus, civil jury
                       trials have not resumed in the Tampa Division. Therefore, the Court will
                       defer a ruling on these motions until a trial date has been rescheduled.
                       Signed by Judge Charlene Edwards Honeywell on 12/30/2020. (CEH)
                       (Entered: 12/30/2020)
    02/02/2021   87    NOTICE of Change in Local Rules. (BGS) (Entered: 02/02/2021)
    04/26/2021   88    ORDER: 1. Defendants' Dispositive Motion for Summary Judgment and
                       Incorporated Memorandum of Law 42 is GRANTED. 2. Plaintiffs'
                       Dispositive Motion for Summary Judgment and Incorporated
                       Memorandum of Law 43 is DENIED. 3. The Clerk is directed to enter
                       JUDGMENT in favor of Defendants City of Dunedin, Florida and Dunedin
                       Code Enforcement Board and against Plaintiffs James Ficken and
                       Suncoast First Trust. 4. The Clerk is further directed to terminate all
                       pending motions and close this case. Signed by Judge Charlene Edwards
                       Honeywell on 4/26/2021. (GLP) (Entered: 04/26/2021)
    04/26/2021   89    JUDGMENT in favor of City of Dunedin, Florida, Dunedin Code
                       Enforcement Board against Suncoast First Trust, James Ficken. Signed by
                       Deputy Clerk on 4/26/2021. (CTR) (CTR). (Entered: 04/26/2021)
    05/10/2021   90    PROPOSED BILL OF COSTS by City of Dunedin, Florida, Dunedin Code
                       Enforcement Board. (Attachments: # 1 Exhibit Exhibit A)(Daigneault, Jay)
                       (Entered: 05/10/2021)
    05/24/2021   91    Joint MOTION to Stay Taxation of Costs Pending Appeal by James Ficken,
                       Suncoast First Trust. (Bargil, Ari) (Entered: 05/24/2021)
    05/24/2021   92


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                       NOTICE OF APPEAL as to 88 Order on Motion for Summary Judgment, 53
                       Order on Motion to Compel, 89 Judgment by James Ficken, Suncoast First
                       Trust. Filing fee $ 505, receipt number AFLMDC−18287726. (Bargil, Ari)
                       (Entered: 05/24/2021)




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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 JAMES FICKEN, trustee,
 SUNCOAST FIRST TRUST, and
 SUNCOAST FIRST TRUST,

                Plaintiffs,

 v.                                                           Case No. 8:19-cv-1210-T-36SPF

 CITY OF DUNEDIN, FLORIDA, et al.,

             Defendants.
 _______________________________________/

                                            ORDER

        This matter is before the Court on Plaintiffs’ Motion to Compel Production of

 Documents and Interrogatory Responses (Doc. 36) and Second Motion to Compel

 Production of Documents (Doc. 40). Defendants filed a Response to the motions (Doc. 41).

 The Court held a hearing on the motions on May 6, 2020 at which it heard argument from

 the parties.

        For the reasons stated at the hearing, it is hereby

        ORDERED:

        (1) Plaintiffs’ Motion to Compel Production of Documents and Interrogatory

            Responses (Doc. 36) and Second Motion to Compel Production of Documents

            (Doc. 40) are GRANTED IN PART and DENIED IN PART as follows:

                a. granted as to Request for Production 5 and Interrogatory 6 with respect to

                    information regarding the effects of overgrown lawns the code enforcement

                    board relied on when considering the gravity of Plaintiff’s violation(s) in

                    2018;




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              b. granted as to Request for Production 3 and Third Request for Production 1

                   but limited to assessments, audits or studies by the City of Dunedin or the

                   code enforcement board commissioned covering the period from July 5,

                   2018 to August 21, 2018, and denied as to drafts and communications;

              c. denied as to Interrogatory 4;

              d. denied as to Interrogatory 8;

              e. as to Interrogatory 9, the motion is denied as to the May 16, 2019 Tampa

                   Bay Times story but otherwise granted, and the City of Dunedin shall

                   provide a list of every interaction between code-enforcement officials and

                   Plaintiff from July 5, 2018 to August 21, 2018;

              f. denied as to Request for Production 4 and Interrogatory 1;

              g. granted as to Interrogatory 7 but limited to fiscal years 2010, 2014, and

                   2018; and

              h. granted as to Request for Production 6 as to any information in the

                   personnel files of Tom Colbert and Mike Kepto in which they make

                   reference to code enforcement actions made in an effort to generate revenue

                   from 2015 through 2018.

       (2) Defendants shall produce the requested discovery within 14 days of the date of this

          Order.

       ORDERED in Tampa, Florida, this 6th day of May 2020.




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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 JAMES FICKEN and SUNCOAST
 FIRST TRUST,

       Plaintiffs,

 v.                                                  Case No: 8:19-cv-1210-CEH-SPF

 CITY OF DUNEDIN, FLORIDA,
 and DUNEDIN CODE
 ENFORCEMENT BOARD,

       Defendants.
 ___________________________________/

                                      ORDER

       This cause comes before the Court upon Defendants’ Dispositive Motion for

 Summary Judgment and Incorporated Memorandum of Law (Doc. 42) and Plaintiff’s

 Dispositive Motion for Summary Judgment and Incorporated Memorandum of Law

 (Doc. 43). Both motions are ripe for the Court’s review (Docs. 49, 51).

       This action arises from a property owner’s repeated failure to cut grass. The

 Dunedin Code Enforcement Board imposed nearly $30,000 in fines for that failure,

 and, with the fines outstanding, thereafter authorized foreclosure. Constitutional

 challenges are now raised.

       The Court, having considered the parties’ submissions and being fully advised

 in the premises, will grant Defendants’ Dispositive Motion for Summary Judgment

 and Incorporated Memorandum of Law and deny Plaintiff’s Dispositive Motion for

 Summary Judgment and Incorporated Memorandum of Law.




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       I.      BACKGROUND

               A. Undisputed Facts 1

                      i. Lady Marion Property and Other Properties

            James Ficken (“Ficken”) is the settlor and sole trustee of Suncoast First Trust.

 Doc. 42-1 2 at 20:1–19, 96:25, 96:1–2; Doc. 63 ¶1; Doc. 43-2 ¶2. He created the trust in

 2007 to hold title on the real property located at 1341 Lady Marion Lane in Dunedin,

 Florida (the “Lady Marion Property”). Doc. 42-1 at 20:8–13. The parties agree that,

 as trustee of Suncoast First Trust, Ficken owns the Lady Marion Property. Doc. 63 ¶1.

 The sole beneficiary of Suncoast First Trust is the Marinelle E. Ficken Living Trust.

 Doc. 42-1 at 21:5–17. The Lady Marion Property is the subject of this action.

            Ficken is also the settlor, sole trustee, and sole beneficiary of the Clearwater

 Residential Trust, which holds real property located at 1608 North Osceola Avenue in

 Clearwater, Florida (the “Clearwater Property”) as its only asset. Doc. 42-1 at 27:12–

 25, 28:1–21; see Doc. 43-2 ¶4. Ficken owned the Clearwater Property individually and

 conveyed it to the Clearwater Residential Trust in the mid-1990s. Doc. 42-1 at 74:10–

 15, 75:1–6. After purchasing the Clearwater Property, he lived in an improved

 structure on the property. Id. at 75:21–25, 76:1–4. Ficken still used the Clearwater




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  The Court has determined the facts, which are undisputed unless otherwise noted, based on
 the parties’ submissions, including declarations and exhibits, as well as the parties’ Joint
 Statement of Undisputed Facts for Cross-Motions for Summary Judgment.
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     Doc. 42-1 is Ficken’s deposition.
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 Property as a residence when he conveyed it to the Clearwater Residential Trust. Id.

 at 76:10–12. He does not live there today. Id. at 76:22–23; Doc. 43-2 ¶4.

       Additionally, Ficken is the settlor and sole trustee of Suncoast Third Trust,

 which was created to hold title on real property located at 53 Highland Avenue in

 Dunedin, Florida (the “Highland Property”). Doc. 42-1 at 22:3–17. The Highland

 Property is the sole asset of Suncoast Third Trust. Id. at 22:24–25, 23:1. Suncoast Third

 Trust acquired the Highland Property in approximately 2006 or 2007 to “flip” the

 property, and Ficken has used the property to store items left behind by the previous

 owner. Id. at 93:22–24, 94:3–5, 95:2–7.

       Ficken has claimed a homestead exemption on the Clearwater Property for each

 and every year following his conveyance to the Clearwater Residential Trust. Id. at

 78:8–13; Doc. 43-2 ¶4. Ficken has not elected to claim the homestead exemption on

 another property because of “possible tax implications” and his intention to repair the

 Clearwater Property. Doc. 42-1 at 97:10–16; Doc. 43-2 ¶4.

                 ii. 2015 Violation

       In March of 2015, City Code Enforcement Inspector Michael Kepto (“Kepto”)

 issued a notice of violation regarding grass overgrowth at the Lady Marion Property

 (the “2015 Notice of Violation”). Doc. 42-4 at 10; Doc. 43-2 ¶11. At the time, Ficken

 was in South Carolina, where he had been since August of 2014, attending to his

 elderly mother, “with the occasional trip back to Pinellas County, Florida.” Doc. 42-

 1 at 103:15–18; Doc. 43-2 ¶11; Doc. 42-4 at 65.



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       On March 30, 2015, Ficken sent an e-mail to Kepto, in which he requested more

 time “to get the lawn mowed” because he was out of town caring for his mother and

 would not return until the week of April 12, 2015. Doc. 42-4 at 65; Doc. 43-2 ¶12;

 Doc. 43-3 at 4. Ficken advised that his “travel opportunities” were “constrained”

 because he served as his mother’s “24/7/365 caretaker.” Doc. 42-4 at 65; Doc. 43-3 at

 4. He indicated that he should be able to mow the lawn later in the week of April 12,

 2015. Doc. 42-4 at 65; Doc. 43-3 at 4. Later that day, Kepto responded that he would

 not extend the compliance date “based on the past history for this property and

 mowing . . . .” Doc. 42-4 at 67; Doc. 43-3 at 5. Kepto also stated:

              This case will be presented to the Code Enforcement Board
              and ANY time in the next five years we document that the
              property is overgrown you could receive up to a $500 PER
              DAY lien as a “Repeat Violation.” I would strongly suggest
              that you schedule regular mowing for this property to
              prevent any liens being placed.

 Doc. 42-4 at 67; Doc. 43-3 at 5.

       On April 3, 2015, Ficken expressed his disappointment that Kepto declined to

 extend the compliance date and offered several reasons for the Lady Marion Property’s

 lack of maintenance: he did not have the contact information for a car repair service

 and, therefore, could not transport his mower; he sent an e-mail to a lawn service

 provider, but did not receive a response; and the mower of the lawn service provider

 that he previously used was broken, but the provider planned on receiving a new

 mower that day, although the provider would need to catch up on other scheduled

 clients before working at the Lady Marion Property. Doc. 42-4 at 69; Doc. 43-2 ¶12;


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 Doc. 43-3 at 7. As such, Ficken advised that he was hopeful that the yard would be

 cut “in the next few days.” Doc. 42-4 at 69; Doc. 43-3 at 7. On April 7, 2015, Ficken

 advised Kepto that the yard at the Lady Marion Property had been cut by a lawn

 service provider that day. Doc. 42-4 at 69; Doc. 43-3 at 8. Accordingly, Ficken wrote,

 “I hope you approve and cancel the Code Board hearing.” Doc. 42-4 at 69; Doc. 43-3

 at 8.

         But, Kepto advised that the Code Enforcement Board (the “Board”) would still

 hear the case, notwithstanding a lawn service provider mowing the lawn on April 7,

 2015. Doc. 42-4 at 69; Doc. 43-3 at 9. Kepto predicted, “The Board will find that you

 were NOT in compliance by the compliance date however you ARE in compliance

 now.” Doc. 42-4 at 69; Doc. 43-3 at 9. Kepto further emphasized:

               This means that anytime within the next five years that we
               see any of your properties with overgrowth there will be a
               photo taken to document the violation and EACH DAY the
               violation occurs you will be sent back to the Code
               Enforcement Board for a “REPEAT VIOLATION” which
               could result in a higher fine of $500 per day. This is to
               encourage you to maintain the property without Code
               Enforcement becoming your property manager advising
               you of the condition of the property.

 Doc. 42-4 at 69; Doc. 43-3 at 9.

         The case was scheduled to be heard by the Board on May 5, 2015. Docs. 42-4

 at 79; 43-3 at 11–12. On May 1, 2015, Ficken requested a continuance of the meeting

 or, alternatively, permission to appear via telephone, because he was “unable to travel

 to Florida” as a result of caring for his mother. Doc. 42-4 at 85; Doc. 42-1 at 113:1–2;

 Doc. 43-3 at 18. Ficken did not attend the hearing, but a former neighbor of the

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 Clearwater Property attended on his behalf. Doc. 42-1 at 113:8–24, 114:4–6; Doc. 43-

 2 ¶12. During the hearing on May 5, 2015, the Board passed a motion finding that the

 Lady Marion Property was in compliance, but had not been in compliance by the

 compliance date. Doc. 42-6 at 18:3–25, 19:1–25; Doc. 43-24 at 19:3–25, 20:1–25; Doc.

 43-2 ¶12; Doc. 63 ¶2. The Board issued a written order, dated May 13, 2015, which

 reflected that the Lady Marion Property had been in violation past the March 29, 2015

 date for compliance, but was presently in compliance. Doc. 42-4 at 117–118; Doc. 43-

 2 ¶13; Doc. 43-4 at 2–3; Doc. 63 ¶2. Although the Board did not impose a fine, Doc.

 42-1 at 116:15–17; Doc. 43-2 ¶13, the written order advised, “This matter is deemed

 to be of a recurring nature and should it recur, by law the Board can levy fines up to

 $500.00 a day plus daily interest and any recording fees shall be imposed against the

 Respondent,” Doc. 42-4 at 118; Doc. 43-4 at 3.

                 iii. 2018 Violation

       On July 5, 2018, Dunedin Code Enforcement Officer Thomas Colbert

 (“Colbert”) visited the Lady Marion Property and observed that the grass was longer

 than ten inches. Doc. 63 ¶3. For the period between July 5, 2018 and August 20, 2018,

 there is only one record of any interaction between Ficken and Colbert, which

 occurred on August 20, 2018. Id. at ¶4. On August 21, 2018, Ficken mowed the lawn

 of the Lady Marion Property. Id. at ¶5. However, on August 22, 2018, Colbert issued

 a “notice of violation” for the Lady Marion Property. See id. at ¶¶6, 8.

       On August 24, 2018, Ficken requested a continuance of the hearing because an

 August 25, 2018 plane ticket for his departure from Florida to South Carolina could
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 not be “changed or refunded.” Doc. 42-4 at 179; Doc. 43-7 at 2; Doc. 43-2 ¶¶22, 24.

 He alternatively requested to appear by telephone. Doc. 42-4 at 179; Doc. 43-7 at 2.

 He also stated his belief that the Lady Marion Property was in compliance from July

 21, 2018 to approximately August 11, 2018. Doc. 42-4 at 179; Doc. 43-7 at 2.

       On the same day, Ficken also provided a letter for inclusion in the record, if the

 Board denied his request for a continuance. Doc. 42-4 at 151; Doc. 43-7 at 3. Therein,

 Ficken admitted the repeat violation, but disputed the period of non-compliance. Doc.

 42-4 at 151; Doc. 43-7 at 3. Ficken asserted that his focus both before and after the

 March 2015 violation had been on attending to his mother in South Carolina and

 settling the out-of-state portion of her estate following her death. Doc. 42-4 at 151;

 Doc. 43-7 at 3. Further, Ficken advised that his lawnmower had “malfunctioned

 during the late July lawn cutting, but it was completed,” and the individual who had

 previously repaired the mower had died during his most recent absence. Doc. 42-4 at

 151; Doc. 43-7 at 3. Ficken claimed that he had unsuccessfully attempted to fix the

 mower on three occasions after it “halted during service” on August 12, 2018. Doc.

 42-4 at 151; Doc. 43-7 at 3. Ficken advised that after receiving a warning from Colbert

 regarding the “impending action” on August 20, 2018, he purchased a new mower

 and mowed the yard on August 21, 2018. Doc. 42-4 at 151; Doc. 43-7 at 3.

 Consequently, Ficken represented, “I now have a reliable machine for when I’m here,

 and have hired a firm, my fourth over the years, to cut the yard when I’m gone.” Doc.

 42-4 at 151; Doc. 43-7 at 3.



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       Ficken subsequently sent another letter, dated August 30, 2018, to the Board for

 inclusion in the record, if the Board denied his request for a continuance. Doc. 42-4 at

 153; Doc. 43-7 at 5. Therein, although he objected to the inclusion of “an inspection

 list going back more than a decade,” Ficken recognized that he had completed the

 requested mitigation in all prior cases, except for the 2015 case and the instant case.

 Doc. 42-4 at 153; Doc. 43-7 at 5. Additionally, he emphasized that future compliance

 would not be a problem because he was spending more time in Dunedin and had a

 “stronger, reliable mower.” Doc. 42-4 at 153; Doc. 43-7 at 5.

       The Board heard the case on September 4, 2018. See generally Doc. 42-9; Doc.

 43-26. Ficken did not attend the hearing on September 4, 2018, nor did anyone attend

 on his behalf. Doc. 42-1 at 140:6–11; Doc. 43-2 ¶¶23–24. The Board “voted to fine Mr.

 Ficken as a repeat offender at the statutory maximum daily fine of $500.” Doc. 63 ¶7.

 The parties agree that the “repeat offender” classification was based on the 2015

 violation. Id. The Board voted to impose two fines: one for the period from July 5 to

 August 20 and another, continuing fine, running from August 31. Id. The Board issued

 two written orders: (1) the first order, dated September 12, 2018, found Suncoast First

 Trust was in repeat violation from July 5, 2018 through August 20, 2018 and imposed

 a fine of $500 per day for each day that the violation existed; and (2) the second order,

 dated September 12, 2018, found Suncoast First Trust in repeat violation and ordered

 the assessment of a $500 daily fine, beginning on August 31, 2018, for each day until

 compliance was achieved. Doc. 42-4 at 199–203; Doc. 43-9 at 2–5.



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        The Board later accepted an affidavit attesting that the Lady Marion Property

 was in compliance as of September 10, 2018. Doc. 63 ¶8. As such, the fine was in the

 amount of $28,500.00, plus interest.3 Id. Ficken filed his Petition to Reconsider or

 Rehear. Doc. 42-4 at 209–210; Doc. 43-12 at 2–3. Ficken claimed, among other things,

 that he had learned on July 18, 2018 that the individual who had been cutting the yard

 in his absence—Russ Kellum—had died. Doc. 42-4 at 209; Doc. 43-12 at 2. Ficken

 averred that the Lady Marion Property was in compliance from July 20 until

 approximately August 12 and from August 21 until the present. Doc. 42-4 at 209–210.

 Ficken subsequently filed an Amended Petition to Reconsider or Rehear, in which he

 amended prior factual allegations. Doc. 42-4 at 221–22; Doc. 43-13 at 2–3.

        The Board heard Ficken’s request for reconsideration or rehearing on

 November 6, 2018, which Ficken attended. Doc. 43-28 at 5–7. See generally Doc. 42-

 10; Doc. 51-6. At the hearing, the Board passed a motion denying Ficken’s request for

 rehearing. Doc. 42-10 at 16:8–25, 17:1–16; Doc. 43-28 at 7.

        The City recorded copies of the orders imposing fines in the public records,

 constituting liens on the Lady Marion Property. Doc. 63 ¶9. In a February 13, 2019

 letter addressed to Suncoast First Trust, City Attorney Thomas Trask (“Trask”)

 advised that two liens had been placed on the Lady Marion Property on September

 18, 2018. Doc. 42-4 at 229; Doc. 43-14 at 2. Trask sought the collection of the liens in



 3
   The parties stipulate that this amount is calculated by multiplying $500 by 57, which
 represents the total number of days (47 days for the first period and 10 days for the second
 period). Doc. 63 ¶8 n.1.
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  the amount of $29,833.50, which included interest and costs. Doc. 63 ¶11; Doc. 42-4

  at 229; Doc. 43-14 at 2. The letter advised that the City would begin foreclosure

  proceedings, unless payment was made to the City within fifteen days of the date of

  the letter. Doc. 42-4 at 230; Doc. 43-14 at 3. Doc. 63 ¶11. On May 7, 2019, the Board

  authorized Trask to pursue foreclosure of the Lady Marion property to collect on the

  liens. Id. at ¶12. Ficken and Suncoast First Trust initiated this action on the same day.

  Id. at ¶13.

                B. Claims

         Ficken and Suncoast First Trust (collectively, “Plaintiffs”) bring four claims

  against the City and the Board (collectively, “Defendants”) in the operative, second

  amended complaint (the “Second Amended Complaint”). Doc. 77 ¶¶94–144.

         Plaintiffs first bring a claim for violation of the Excessive Fines Clause of the

  Eighth Amendment to the United States Constitution (Count I), in which they allege

  that, as applied, the City’s daily fines of $500 and aggregate fines of over $29,000 are

  disproportionate to the “offense of having tall grass.” Id. at ¶98. They also allege in

  this claim that, as applied, the “ultimate penalty” imposed by the City—the

  foreclosure—is disproportionate to the “offense of having tall grass.” Id. at ¶100. And,

  they allege that on its face and as applied, the “City’s system of limitless fines for all

  non-irreparable code violations” violates the Excessive Fines Clause of the Eighth

  Amendment. Id. at ¶102. Consequently, Plaintiffs allege that the City must be enjoined

  from collecting fines and foreclosing on the Lady Marion Property. Id. at ¶¶103–104.

  Plaintiffs also bring a claim for violation of the Excessive Fines Clause of Section 17
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  of Article I of the Florida Constitution (Count II), which mirrors Count I, except that

  Plaintiffs also allege that, as applied, the City’s daily fines of $500 and aggregate fines

  of over $29,000, as well as the foreclosure of the Lady Marion Property as a result of

  tall grass, shocks the conscience. Id. at ¶¶110, 114.

         In Count III, which is labeled as “Procedural Due Process under the U.S.

  Constitution,” Plaintiffs claim that the City’s purported failure to notify Ficken of “the

  consequences of his ‘repeat violator’ classification” and supply him with “an

  opportunity to contest such classification before it was applied to him” constituted a

  violation of the Due Process Clause of the Fourteenth Amendment to the United

  States Constitution, as Ficken was allegedly entitled to “appropriate notice and an

  opportunity to be heard regarding his qualification for a legal status that, once applied,

  would result in the deprivation of certain procedural protections.” Id. at ¶126.

  According to Plaintiffs, the City’s imposition of fines against Ficken, without

  providing notice to Ficken that the fines “were being imposed on an ongoing basis”

  constitutes a violation of the Due Process Clause of the Fourteenth Amendment to the

  United States Constitution. Id. at ¶128. Consequently, Plaintiffs claim, the City must

  be enjoined from collecting the fines and foreclosing on the Lady Marion Property. Id.

  at ¶¶129–130. In Count IV, which is labeled “Procedural Due Process under the

  Florida Constitution,” Plaintiffs repeat these allegations, except they tailor them to the

  Due Process Clause of Section 9 of Article I of the Florida Constitution. Id. at ¶¶133–

  144.



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            Plaintiffs now move for summary judgment on all claims. Doc. 43 at 31.

  Defendants likewise move for summary judgment on all claims. Doc. 42 at 26.

  Responses in opposition to the motions have been filed, and the Court held oral

  argument on the motions. 4 Docs. 49, 51, 82.

      II.      LEGAL STANDARD

            Summary judgment is appropriate when the pleadings, depositions, answers to

  interrogatories, and admissions on file, with the affidavits, show there is no genuine

  issue as to any material fact and that the moving party is entitled to judgment as a

  matter of law. Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

  The moving party bears the initial burden of stating the basis for its motion and

  identifying those portions of the record demonstrating the absence of genuine issues of

  material fact. Celotex, 477 U.S. at 323; Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256,

  1259–60 (11th Cir. 2004). That burden can be discharged if the moving party can show

  the court that there is “an absence of evidence to support the nonmoving party’s

  case.” Celotex, 477 U.S. at 325.

            When the moving party has discharged its burden, the nonmoving party must

  then designate specific facts showing that there is a genuine issue of material fact. Id. at

  324. Issues of fact are “genuine only if a reasonable jury, considering the evidence


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   The parties renewed their motions after the Court dismissed the prior complaint as a shotgun
  pleading. Docs. 76, 80. Unlike the prior complaint, the Second Amended Complaint does not
  name members of the Board in their official capacities as defendants. See generally Docs. 22,
  77. Further, although the Case Management and Scheduling Order provided Plaintiffs and
  Defendants with leave to file a reply, neither Plaintiffs nor Defendants filed a reply. Doc. 17
  at 7.
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  present, could find for the nonmoving party,” and a fact is “material” if it may affect

  the outcome of the suit under governing law. Anderson v. Liberty Lobby, Inc., 477 U.S.

  242, 248–49 (1986). In determining whether a genuine issue of material fact exists, the

  court must consider all the evidence in the light most favorable to the nonmoving

  party. Celotex, 477 U.S. at 323. But, a party cannot defeat summary judgment by

  relying on conclusory allegations. See Hill v. Oil Dri Corp. of Ga., 198 F. App’x 852, 858

  (11th Cir. 2006). Summary judgment should be granted only if “the record taken as a

  whole could not lead a rational trier of fact to find for the non-moving party.”

  Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). “The court

  need consider only the cited materials, but it may consider other materials in the

  record.” Fed. R. Civ. P. 56(c)(3).

         The standard of review for cross-motions for summary judgment does not differ

  from the standard applied when only one party files a motion, but simply requires a

  determination of whether either of the parties deserves judgment as a matter of law on

  the facts that are not disputed. Am. Bankers Ins. Grp. v. United States, 408 F.3d 1328,

  1331 (11th Cir. 2005). The Court must consider each motion on its own merits,

  resolving all reasonable inferences against the party whose motion is under

  consideration. Id. The Eleventh Circuit has explained that “[c]ross-motions for

  summary judgment will not, in themselves, warrant the court in granting summary

  judgment unless one of the parties is entitled to judgment as a matter of law on facts

  that are not genuinely disputed.” United States v. Oakley, 744 F.2d 1553, 1555 (11th Cir.

  1984) (quoting Bricklayers Int’l Union, Local 15 v. Stuart Plastering Co., 512 F.2d 1017 (5th
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  Cir. 1975)). Cross-motions may, however, be probative of the absence of a factual

  dispute where they reflect general agreement by the parties as to the controlling legal

  theories and material facts. Id. at 1555–56.

     III.   DISCUSSION

        The Court will first (A) examine the relevant language of Chapter 162, Florida

  Statutes, Chapter 22, Dunedin Code of Ordinances (“DCO”) and then analyze (B) the

  due process claims and (C) the excessive fines claims. For the reasons articulated

  below, Defendants’ Dispositive Motion for Summary Judgment is due to be granted.

            A. Chapter 162, Florida Statutes, and Chapter 22, DCO

                   i. Introduction

        The analysis begins, as it must, with an examination of Chapter 162, Florida

  Statutes, and Chapter 22, DCO. The intent of the Local Government Code

  Enforcement Act, Section 162.01 et seq., Florida Statutes, is to

               promote, protect, and improve the health, safety, and welfare of
               the citizens of the counties and municipalities of this state by
               authorizing the creation of administrative boards with authority
               to impose administrative fines and other noncriminal penalties
               to provide an equitable, expeditious, effective, and inexpensive
               method of enforcing any codes and ordinances in force in
               counties and municipalities, where a pending or repeated
               violation continues to exist.

  Fla. Stat. §§ 162.01, 162.02.

        To that end, the Florida Legislature authorized municipalities to create, by

  ordinance, local government code enforcement boards. Id. § 162.03(1). Municipalities

  may, by ordinance, adopt an alternate code enforcement system that provides code


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  enforcement boards with “the authority to hold hearings and assess fines against

  violators of the respective . . . municipal codes and ordinances.” Id. § 162.03(2).

        The DCO largely mirrors the language of Chapter 162. 5 By ordinance, the City

  “created a code enforcement board” to “hold hearings and make findings and impose

  fines for violations,” as provided in Chapter 22, DCO. Id. § 22-41.

                  ii. Violations, Repeat Violations, Notice, and Fines

        A “code inspector”—“code enforcement officer” under the DCO—maintains

  the duty to initiate code enforcement proceedings of the various codes and

  ordinances. Fla. Stat. § 162.06(1); City of Dunedin, Fla., Code of Ordinances § 22-

  71. Members of the Board do not have the power to initiate proceedings. Fla. Stat. §

  162.06(1); City of Dunedin, Fla., Code of Ordinances § 22-71. The DCO defines

  “code enforcement officer” as “any authorized agent or employee of the city whose

  duty it is to ensure code compliance . . . .” 6 City of Dunedin, Fla., Code of

  Ordinances § 22-42.



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   For example, Section 22-1, DCO, provides that the City’s intent through Chapter 22 of the
  DCO is to
               promote, protect, and improve the health, safety, and welfare of the
               citizens of the city by creating a volunteer administrative board with
               authority to impose administrative fines and other noncriminal
               penalties to provide an equitable, expeditious, effective, and
               inexpensive method of enforcing any codes and ordinances in force
               in the city, where a pending or repeated violation continues to exist.

  City of Dunedin, Fla., Code of Ordinances § 22-1. See id. § 22-3 (providing that the
  legislative intent of Chapter 22 is to supply “an additional or supplemental means of
  obtaining compliance with city codes and ordinances”).
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   “Code means a compilation of regulations, standards, rules and/or ordinances, such as any
  of the several chapters of the City Code or its ordinances, the Land Development Code, or
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         Section 162.06(2), Florida Statutes, and Section 22-72, DCO, set forth the

  procedures to be followed if the code enforcement official finds a violation. This

  procedure differs from the procedure for repeat violations. Fla. Stat. § 162.06(2)–(3);

  City of Dunedin, Fla., Code of Ordinances §§22-72, 22-73. Under the statute, except

  as provided in Section 162.06(3), Florida Statutes—addressing repeat violations—and

  Section 162.06(4), Florida Statutes—addressing instances in which the code inspector

  has reason to believe that a violation or a condition causing a violation “presents a

  serious threat to public health, safety, and welfare” or the violation is irreversible or

  irreparable—“if a violation is found, the code inspector shall notify the violator and

  give him or her a reasonable time to correct the violation.” Fla. Stat. § 162.06(2)–(4).

  If the violation continues past the time specified for correction, the code inspector must

  notify an enforcement board and request a hearing. Id. § 162.02(2). The code

  enforcement board must schedule a hearing, and written notice of the hearing must be

  hand-delivered or mailed in the manner provided in the statute to the violator. Id. The

  code enforcement board may further serve notice by publication or posting, as

  provided in the statute. Id. If the violation is corrected and subsequently recurs, or if

  the violation is not corrected by the time specified by correction, the case may be

  presented to the code enforcement board, regardless if the violation has been corrected

  before the board hearing, and the notice shall so state. Id.

         The DCO mirrors this language regarding violations:


  any other codes or technical codes of the city.” City of Dunedin, Fla., Code of Ordinances §
  22-42 (emphasis in original).
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                Except as provided in sections 22-73 [addressing repeat
                violations] and 22-74 [addressing instances in which the code
                enforcement officer has reason to believe that a violation or a
                condition causing a violation serves as a serious threat to public
                health, safety, and welfare or the violation or condition is
                irreversible or irreparable], if a violation of the codes or
                ordinances is found, the code enforcement officer shall notify
                the violator and give him a reasonable time to correct the
                violation. Should the violation continue past the time specified
                for correction, the code enforcement officer shall notify the
                code enforcement board and request a hearing. The code
                enforcement board, through its clerical staff, shall schedule a
                hearing, and written notice of such hearing shall be hand
                delivered or mailed as provided in section 22-84 to the violator.
                At the option of the code enforcement board, notice may
                additionally be served by publication or posting as provided
                in section 22-84. If the violation is corrected and then recurs, or
                if the violation is not corrected by the time specified for
                correction by the code enforcement officer, the case may be
                presented to the code enforcement board even if the violation
                has been corrected prior to the board hearing, and the notice
                shall so state.

  City of Dunedin, Fla., Code of Ordinances § 22-72.

         But, a “repeat violation” is treated differently. A “repeat violation”

                means a violation of a provision of a code or ordinance by a
                person who has been previously found through a code
                enforcement board or any other quasi-judicial or judicial process,
                to have violated or who has admitted violating the same
                provision 5 years prior to the violation, notwithstanding the
                violations occur at different locations.

  Fla. Stat. § 162.04(5). See City of Dunedin, Fla., Code of Ordinances § 22-42.

         “If a repeat violation is found, the code inspector shall notify the violator but is

  not required to give the violator a reasonable time to correct the violation. The code inspector,

  upon notifying the violator of a repeat violation, shall notify an enforcement board

  and request a hearing.” Fla. Stat. § 162.06(3) (emphasis added). The code enforcement

  board, through its staff, must schedule a hearing and provide the notice required under

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  the statute. Id. The case may be presented to the code enforcement board even if the

  repeat violation is corrected before the hearing, and the notice shall so state. Id.

  Further, “[i]f the repeat violation has been corrected, the code enforcement board

  retains the right to schedule a hearing to determine costs and impose the payment of

  reasonable enforcement fees upon the repeat violator.” Id. The repeat violator also may

  elect to waive his or her rights to the hearing and pay the costs determined by the code

  enforcement board. Id. Once again, the DCO mirrors all of this language, except that

  the DCO provides that “[t]he case may be presented to the enforcement board even if

  the repeat violation has been corrected prior to the board hearing, the automatic fine

  shall be levied, and the notice shall so state.” City of Dunedin, Fla., Code of Ordinances

  § 22-73 (emphasis added).

         All required notices must be provided to the alleged violator by one of four

  specified methods. Fla. Stat. § 162.12(1)(a)–(d); City of Dunedin, Fla., Code of

  Ordinances § 22-84(a)(1)–(4). One of the specified methods for notice under the DCO

  is by “[c]ertified mail to the address listed in the tax collector’s office for tax notices,

  or to any other address provided by the property owner in writing to the city

  commission for the purpose of receiving notices.” City of Dunedin, Fla., Code of

  Ordinances §22-84(a)(1). As an additional form of notice, a code enforcement board

  may elect to utilize notice by publication or posting. Fla. Stat. § 162.12(b); City of

  Dunedin, Fla., Code of Ordinances § 22-84(b).

         During a hearing, a code enforcement board must take testimony from the code

  enforcement officer and the alleged violator. Fla. Stat. § 162.07(3); City of Dunedin,
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  Fla., Code of Ordinances § 22-75(e). At the hearing’s conclusion, an enforcement

  board must issue findings of facts, based on evidence of record, and conclusions of

  law, and the board must “issue an order affording the proper relief” consistent with

  those powers granted. Fla. Stat. § 162.07(3); City of Dunedin, Fla., Code of

  Ordinances § 22-75(f). Additionally, the order “may include a notice that it must be

  complied with by a specified date and that a fine may be imposed . . . if the order is

  not complied with by such date.” Fla. Stat. § 162.07(3). See City of Dunedin, Fla.,

  Code of Ordinances § 22-75(f).

        Under the statute, a code enforcement board, upon being notified by the code

  inspector that an order of the board “has not been complied with by the set time” or

  “upon a finding that a repeat violation has been committed,” may order the violator

  to pay a fine in the amount specified for fines under Chapter 162, Florida Statutes, “for

  each day the violation continues past the date set by the enforcement board for

  compliance or, in the case of a repeat violation, for each day the repeat violation

  continues, beginning with the date the repeat violation is found to have occurred by

  the code inspector.” Fla. Stat. § 162.09(1). Similarly, the DCO provides that the Board,

  upon notification by a code enforcement officer that an order of the Board “has not

  been complied with by the time set” or, “upon finding that a repeat violation has been

  committed,” may order the violator to pay a fine in the amount specified in Chapter

  22, DCO, “for each day the violation continues past the date set by the code

  enforcement board for compliance or, in the case of a repeat violation, for each day

  the repeat violation continues past the date of notice to the violator of the repeat
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  violation.” If a finding of a violation or repeat violation has been made, a hearing is

  not necessary for issuing an order imposing the fine. Fla. Stat. § 162.09(1); City of

  Dunedin, Fla., Code of Ordinances § 22-79(c). Fines imposed pursuant to this section

  may not exceed $250 per day for a first violation, may not exceed $500 per day for a

  repeat violation, and may include costs of repair. Fla. Stat. § 162.09(2)(a); City of

  Dunedin, Fla., Code of Ordinances § 22-79(d).

        A code enforcement board, in determining the amount of any fine, must

  consider the following factors: (1) the gravity of the violation; (2) any actions taken by

  the violator to correct the violation; and (3) any previous violations committed by the

  violator. Fla. Stat. § 162.09(2)(b); City of Dunedin, Fla., Code of Ordinances § 22-

  80(1)–(3). The DCO adds another factor for consideration: “[t]he courtesy and

  cooperation the violator extends to the code enforcement officer.” City of Dunedin,

  Fla., Code of Ordinances § 22-80(4).

                  iii. Liens and Appeal

        Significantly, a certified copy of a code enforcement board order imposing a fine

  may be recorded in the public records of the county and subsequently such order shall

  constitute a lien against the land upon which the violation exists and upon any other

  real property or personal property which is owned by the violator. Fla. Stat. §

  162.09(3); City of Dunedin, Fla., Code of Ordinances § 22-81. The DCO deems this

  lien superior to all other liens or encumbrances against the property, except taxes. City

  of Dunedin, Fla., Code of Ordinances § 22-81. Further, upon petition to the circuit

  court, the order “may be enforced in the same manner as a court judgment by the
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  sheriffs of the state,” but the order shall not be deemed a court judgment, except for

  purposes of enforcement. Fla. Stat. § 162.09(3); City of Dunedin, Fla., Code of

  Ordinances § 22-81. A fine imposed pursuant to the aforementioned language shall

  continue to accrue until either the violator comes into compliance or a judgment is

  rendered in a suit to foreclose on a lien filed pursuant to the sections governing liens,

  whichever occurs first. Fla. Stat. § 162.09(3); City of Dunedin, Fla., Code of

  Ordinances § 22-81. Like the statute, the DCO provides that, after three months from

  the filing of such lien that remains unpaid, the Board may authorize the city attorney

  to foreclose on the lien. City of Dunedin, Fla., Code of Ordinances § 22-81; Fla. Stat.

  § 162.09.

        Finally, an “aggrieved party” may appeal a final administrative order of a code

  enforcement board to the circuit court. Fla. Stat. § 162.11; City of Dunedin, Fla., Code

  of Ordinances § 22-83. This appeal shall be limited to appellate review of the record

  created before the enforcement board, not a hearing de novo. Fla. Stat. § 162.11; City

  of Dunedin, Fla., Code of Ordinances § 22-83. “An appeal must be filed within 30

  days of the execution of the order to be appealed.” Fla. Stat. § 162.11; City of Dunedin,

  Fla., Code of Ordinances § 22-83.

        With this framework in mind, the Court will now analyze the due process

  claims and the excessive fines claims.

              B. Due Process

        As discussed above, Plaintiffs bring due process claims under the United States

  Constitution and the Florida Constitution against Defendants. These claims will be
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  addressed together. The Court will (i) examine relevant law before (ii) analyzing

  Defendants’ Dispositive Motion for Summary Judgment and (iii) analyzing Plaintiffs’

  Dispositive Motion for Summary Judgment. For the reasons set forth below,

  Defendants’ Dispositive Motion for Summary Judgment will be granted as to these

  due process claims.

                   i. Relevant Law

        The Fourteenth Amendment to the United States Constitution provides, in

  relevant part, “nor shall any State deprive any person of life, liberty, or property,

  without due process of law.” U.S. Const. amend. XIV § 1. “The Supreme Court’s

  interpretation of this clause explicates that the amendment provides two different kinds

  of constitutional protection: procedural due process and substantive due process.”

  McKinney v. Pate, 20 F.3d 1550, 1555 (11th Cir. 1994) (citing Zinermon v. Burch, 494

  U.S. 113, 125 (1990)). Here, Plaintiffs style their claims as procedural due process

  claims.

        “Procedural due process imposes constraints on governmental decisions which

  deprive individuals of ‘liberty’ or ‘property’ interests within the meaning of the Due

  Process Clause of the Fifth or Fourteenth Amendment.” Mathews v. Eldridge, 429 U.S.

  319, 333 (1976). “The fundamental requirement of due process is the opportunity to

  be heard at a meaningful time and in a meaningful manner.” Id. (internal quotation

  marks omitted). Due process “is not a technical conception with a fixed content

  unrelated to time, place and circumstances,” but instead “is flexible and calls for such

  procedural protections as the particular situation demands.” Id. at 334 (internal
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  quotation marks omitted). Determining the requirements of due process in a particular

  situation requires a court to apply the balancing test articulated in Mathews. Grayden v.

  Rhodes, 345 F.3d 1225, 1233 (11th Cir. 2003). Under this test,

               identification of the specific dictates of due process generally
               requires consideration of three distinct factors: First, the private
               interest that will be affected by the official action; second, the risk
               of an erroneous deprivation of such interest through the
               procedures used, and the probable value, if any, of additional or
               substitute procedural safeguards; and finally, the Government's
               interest, including the function involved and the fiscal and
               administrative burdens that the additional or substitute
               procedural requirement would entail.

  Mathews, 424 U.S. at 335. See also Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S.

  306, 314 (1950) (“An elementary and fundamental requirement of due process in any

  proceeding which is to be afforded finality is notice reasonably calculated, under all

  the circumstances, to apprise interested parties of the pendency of the action and afford

  them an opportunity to present their objections.”).

        Similarly, the Florida Constitution provides, in relevant part, that “[n]o person

  shall be deprived of life, liberty, or property without due process of law . . . .” Fla.

  Const. art. I, § 9. “Procedural due process requires both fair notice and a real

  opportunity to be heard.” Keys Citizens for Responsible Gov’t, Inc. v. Fla. Keys Aqueduct

  Auth., 795 So. 2d 940, 948 (Fla. 2001). See also Scull v. State, 569 So. 2d 1251, 1252

  (Fla. 1990) (“The essence of due process is that fair notice and a reasonable

  opportunity to be heard must be given to interested parties before judgment is

  rendered.”). “The notice must be of such nature as reasonably to convey the required

  information, and it must afford a reasonable time for those interested to make their

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  appearance.” Keys Citizens, 569 So. 2d at 1252 (internal quotation marks omitted)

  (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)). And,

  this opportunity to be heard must be “‘at a meaningful time and in a meaningful

  manner.’” Id. (quoting Mathews, 424 U.S. at 333).

           Relevant to the federal procedural due process claim here, the Eleventh Circuit

  has established a three-prong test for establishing a procedural due process claim under

  42 U.S.C. § 1983. 7 Foxy Lady, Inc. v. City of Atlanta, 347 F.3d 1232, 1236 (11th Cir.

  2003). Under this test, a plaintiff must establish: (1) “a deprivation of a

  constitutionally-protected interest”; (2) state action; and (3) a “constitutionally



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      The statute provides:

                  Every person who, under color of any statute, ordinance,
                  regulation, custom, or usage, of any State or Territory or the
                  District of Columbia, subjects, or causes to be subjected, any
                  citizen of the United States or other person within the
                  jurisdiction thereof to the deprivation of any rights, privileges, or
                  immunities secured by the Constitution and laws, shall be liable
                  to the party injured in an action at law, suit in equity, or other
                  proper proceeding for redress, except that in any action brought
                  against a judicial officer for an act or omission taken in such
                  officer’s judicial capacity, injunctive relief shall not be granted
                  unless a declaratory decree was violated or declaratory relief was
                  unavailable. For the purposes of this section, any Act
                  of Congress applicable exclusively to the District of Columbia
                  shall be considered to be a statute of the District of Columbia.

  42 U.S.C. § 1983. “A municipality may be liable under this section if it “‘subjects’ a person to
  a deprivation of rights or ‘causes’ a person ‘to be subjected’ to such deprivation.” Connick v.
  Thompson, 563 U.S. 51, 60 (2011). “Plaintiffs who seek to impose liability of local
  governments under § 1983 must prove that ‘action pursuant to official municipal policy’
  caused their injury.” Id. “Official municipal policy includes decisions of a government’s
  lawmakers, the acts of its policymaking officials, and practices so persistent and widespread
  as to practically have the force of law.” Id.


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  inadequate process.” Id. (internal quotation marks omitted) (quoting Cryder v.

  Oxendine, 24 F.3d 175, 177 (11th Cir. 1994)). There also must be a causal connection

  between the state action and the deprivation. Kupke v. Orange Cnty., 293 F. App’x 695,

  697 (11th Cir. 2008). 8

        However, “even if a procedural deprivation exists during an administrative

  hearing, [a procedural due process] claim will not be cognizable under § 1983 if the

  state provides a means by which to remedy the alleged deprivation.” Foxy Lady, 347

  F.3d at 1238 (citing McKinney, 20. F.3d at 1565). Indeed, “a procedural due process

  violation is not complete ‘unless and until the State fails to provide due process.’”

  McKinney, 20 F.3d at 1557 (quoting Zinermon, 494 U.S. at 123). “In other words, the

  state may cure a procedural deprivation by providing a later procedural remedy; only

  when the state refuses to provide a process sufficient to remedy the procedural

  violation does a constitutional violation actionable under section 1983 arise.” Id.

        “[T]he McKinney rule looks to the existence of an opportunity—to whether the

  state courts, if asked, generally would provide an adequate remedy for the procedural

  deprivation the federal court plaintiff claims to have suffered.” Horton v. Bd. of Cnty.

  Comm’rs of Flagler Cnty., 202 F.3d 1297, 1300 (11th Cir. 2000). “If state courts would,

  then there is no federal procedural due process violation regardless of whether the

  plaintiff has taken advantage of the state remedy or attempted to do so.” Id. Further,

  “[i]f state courts generally would not provide an adequate remedy for that type of


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   Unpublished decisions of the Eleventh Circuit are not binding precedent, but may be cited
  as persuasive authority. 11th Cir. R. 36-2.
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  procedural deprivation, then the federal court determines whether the Fourteenth

  Amendment Due Process Clause requires such a remedy, and if it does, the federal

  court remedies the violation.” Id. In considering whether adequate remedies exist, a

  court must consider which remedies are available under state law, not whether the

  plaintiff took advantage of those remedies. Kupke, 293 F. App’x at 698 (citing Horton,

  202 F.3d at 1300). To that end, “Florida law ordinarily provides for pre-deprivation

  process, namely notice and a hearing before the Enforcement Board before a citation

  will issue, with appellate review to follow.” Id.

                   ii. Defendants’ Dispositive Motion for Summary Judgment

         Each of the procedural due process claims is premised on two alleged failures:

  the City’s purported failure to inform Ficken of the consequences of his 9 “‘repeat

  violator’ classification and provide him with an opportunity to contest such

  classification before it was applied to him,” as he “was entitled to appropriate notice

  and an opportunity to be heard regarding his qualification for a legal status that, once

  applied, would result in the deprivation of certain procedural protections”; and the

  City’s “imposition of fines” against Ficken without providing him notice “that the

  fines were being imposed on an ongoing basis.” Doc. 77 ¶¶126, 128, 138, 140.




  9
    The allegations and arguments are styled in this manner, even though Suncoast First Trust
  served as the respondent in the code enforcement proceedings and the 2018 Board orders
  stated that Suncoast First Trust was in repeat violation. Doc. 42-4 at 199–203. As such, in
  certain places in this order, the Court adopts that practice in referencing or discussing the
  allegations or arguments.
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         Because it is relevant to the analysis, the Court notes that the parties treat

  Plaintiffs’ federal procedural due process claim as a procedural due process claim

  under Section 1983. 10 Therefore, the Court construes the federal due process claim as

  a procedural due process claim under Section 1983. The Court also construes both

  claims as as-applied challenges.

          Defendants argue the following: the evidence contravenes Plaintiffs’ allegation

  that Ficken did not receive due process and Ficken’s claim that Defendants failed to

  notify him that he was classified as a repeat offender; Plaintiffs fail to establish a federal

  due process claim under Section 1983 and, even if a deprivation occurred, Chapter

  162, Florida Statutes, and Chapter 22, DCO, provided an opportunity for Ficken to

  seek review before the state court of the procedural due process issues that he now

  raises; and Ficken’s claim for a procedural due process violation under the Florida

  Constitution fails because he received due process and failed to exhaust his

  administrative remedies by not appealing any of the Board’s orders. Doc. 42 at 22–25.



  10
    In setting forth a basis for the claim’s alleged failure, Defendants cite the three-prong test
  for establishing a procedural due process claim under Section 1983, arguing that Plaintiffs
  must meet these factors to “establish such a claim.” Doc. 42 at 23. Defendants also argued
  during oral argument that, to establish a federal due process claim under the Fourteenth
  Amendment, Plaintiffs must show “the element of constitutionally inadequate process,”
  which is one of the elements under this test. Doc. 84 at 19:4–8. In responding to the due
  process arguments raised in Defendants’ Dispositive Motion for Summary Judgment,
  Plaintiffs represent that “this is a section 1983 case and the procedural due process violation
  was already complete when the City failed to provide notice.” Doc. 51 at 24. Plaintiffs
  relatedly claim that Defendants’ exhaustion argument falls short because the Supreme Court
  has held that exhaustion is not required for Section 1983 claims. Id. Finally, the Second
  Amended Complaint, which brings the same claims as the prior complaints, alleges that the
  state court from which this action was initially removed originally had jurisdiction, in part, as
  a result of Section 1983. Doc. 77 ¶6.
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                         1. Evidence

        To understand the genesis of Ficken’s designation as a “repeat violator,” the

  Court must examine the 2015 violation at the Lady Marion Property. The parties do

  not dispute that the City issued a citation for overgrown grass at the Lady Marion

  Property in 2015. Among other evidence, Defendants provide the affidavit of Joan

  McHale (“McHale”), Business Manager for the City’s Code Enforcement Operations,

  who serves as the custodian of the City’s records for code enforcement cases. Doc. 42-

  4 at 2. McHale provides numerous records with her affidavit. Relevant here, Kepto

  generated the 2015 Notice of Violation on March 17, 2015, which indicated “Grass or

  Weeds Exceed 10 Inches in Height” as the violation for the Lady Marion Property and

  directed the violation to be corrected by March 29, 2015. Doc. 42-4 at 10, 60–61. A

  notice to appear for a hearing before the Board would be sent if the violation was not

  “remedied and discontinued.” Id. at 60. The 2015 Notice of Violation also provided:

               You are hereby notified to correct the attached violation(s)
               and notify the above signed Special Codes Inspector within
               the time limits specified. Failure to comply will result in
               charges being filed against you with the Code Enforcement
               Board of the City of Dunedin which may result in a
               potential fine up to $250.00 per day. Repeat violators can be
               fined up to $500.00 per day. Such charges will be a lien upon
               the real and/or personal property of the violator and may
               be collected pursuant to law. The City is also entitled to
               collect all costs incurred in recording and satisfying a lien
               against the property.

  Id. at 61 (original emphasis removed).

        Thus, in addition to advising him that failure to correct the violation could result

  in a fine of $250.00 per day, the 2015 Notice of Violation advised Ficken that repeat

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  violators could be fined up to $500.00 per day. These fines are consistent with Chapter

  162, Florida Statutes, and Chapter 22, DCO, for violations and repeat violations.

  Kepto mailed the 2015 Notice of Violation to Suncoast First Trust at the Lady Marion

  Address by March 18, 2015. Id. at 10. Kepto also e-mailed to Ficken the “substantive

  contents” of the 2015 Notice of Violation, which appears to have omitted the language

  excerpted above. Id.; Doc. 42-4 at 63. Nonetheless, Plaintiffs do not challenge the

  notice provided for the 2015 Notice of Violation. It is undisputed that Ficken, who

  was in South Carolina at this time caring for his mother, responded on March 30,

  2015—one day past the date set for compliance in the 2015 Notice of Violation—to

  request more time.

        In his communications with Ficken, Kepto reiterated that a repeat violator may

  face a fine up to $500 per day. In rejecting Ficken’s request to extend the compliance

  date, Kepto emphasized that, assuming the Board found Ficken to be in violation, any

  documented overgrowth within the next five years could result in a “$500 PER DAY

  lien as a ‘Repeat Violation.’” Doc. 42-4 at 67. Additionally, when Ficken asked Kepto

  on April 7, 2015—over one week after the date set for compliance—to cancel the

  scheduled hearing because a lawn service provider had mowed the Lady Marion

  Property’s lawn, Kepto predicted that the Board would find that the Lady Marion

  Property had not been in compliance, meaning that any documented instance of

  overgrowth observed at one of Ficken’s properties within the next five years would

  result in Ficken returning before the Board for a repeat violation, “which could result

  in a higher fine of $500 per day.” Doc. 42-4 at 69. Although these communications do
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  not constitute “notice” under Chapter 162, Florida Statutes, or Chapter 22, DCO, they

  demonstrate efforts to advise Ficken of the consequences of repeat violations. In

  moving for summary judgment, Plaintiffs also provide these communications and do

  not dispute that Ficken received them.

         Because the violation had continued past the March 29, 2015 compliance date,

  Kepto requested a hearing before the Board. Id. at 11, 73–74. Kepto searched the

  Property Appraiser records to ensure identification of the owner of record for the Lady

  Marion Property and sent a Notice of Hearing via certified mail to Suncoast First Trust

  at the address for the Lady Marion Property. Id. at 12, 81. The delivery receipt is dated

  April 13, 2015, and signed by “J. Ficken.” Id. at 81. Further, Kepto executed an

  Affidavit of Service, indicating that he also sent the Notice of Hearing via first class

  mail, posted a copy at the Lady Marion Property, posted a copy at the City’s offices.

  Id. at 12, 83.

         The parties agree that the Board heard the case for the 2015 grass overgrowth

  violation for the Lady Marion Property on May 5, 2015. The parties also agree that

  Ficken did not attend the hearing. The parties likewise agree that the Board found the

  Lady Marion Property was in compliance, but had not been in compliance by the

  March 29, 2015 compliance date. According to McHale, the May 5, 2015 hearing was

  the first instance that the Board adjudicated Ficken to have violated the DCO.11 Id. at


  11
    Although unnecessary to the analysis, records provided by McHale also demonstrate that
  code enforcement officers issued at least twelve notices of violation for overgrowth at the
  Lady Marion Property between 2007 and 2013. Doc. 42-4 at 3–9. In many of these instances,
  no further action was taken once the grass was mowed. See id.
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  10. Significantly, the Board’s written order, which stated that the Lady Marion

  Property had been in violation past the compliance date, but was presently in

  compliance, provided:

               The Board has determined that Respondent is in compliance
               with IMPC Section 302.4. This matter is deemed to be of a recurring
               nature and should it recur, by law the Board can levy fines up to $500.00
               a day plus daily interest and any recording fees shall be imposed against
               the Respondent [Suncoast First Trust].

  Doc. 42-4 at 118 (emphasis added).

        The City mailed a copy of the Board’s written order to Suncoast First Trust at

  the address for the Lady Marion Property on May 14, 2015, the receipt for which

  evidences a signature of “J. Ficken” on June 20, 2015. Id. at 13, 120. Plaintiffs do not

  dispute Ficken’s receipt of the Board’s written order. Indeed, in moving for summary

  judgment, Plaintiffs provide a copy of the written order as an exhibit to Ficken’s

  declaration in support of Ficken’s proposition that he “later learned” that “the City

  would treat [him] as a repeat violator for any case involving tall grass in the next five

  years” as a consequence of the Board’s finding. Doc. 43-2 ¶13. Thus, even when

  viewing the evidence in the light most favorable to Plaintiffs, the record demonstrates

  that Ficken received the Board’s 2015 written order. Ficken admitted in his deposition,

  which Defendants provide, that he did not appeal the Board’s 2015 written order or

  otherwise ask the Board to reconsider the order. Doc. 42-1 at 116:9–14. Plaintiffs do

  not provide any evidence to the contrary.

        Turning to the 2018 repeat violation, it is undisputed that Colbert observed that

  the grass at the Lady Marion Property was longer than ten inches on July 5, 2018.

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  Likewise, the parties agree that Ficken mowed the lawn of the Lady Marion Property

  on August 20, 2018, and that there is only one record of any interaction between

  Colbert and Ficken, which also occurred on that date. 12 Although labeled by the parties

  as a “notice of violation” in their Joint Statement of Undisputed Facts, the records

  provided by McHale demonstrate that Colbert issued a notice of repeat violation for

  the Lady Marion Property on August 22, 2018 (the “2018 Notice of Repeat

  Violation”). Doc. 42-4 at 14, 144–145. The 2018 Notice of Violation, which was

  addressed to Suncoast First Trust at the address for the Lady Marion Property, stated

  that an inspection of the Lady Marion Property on July 5, 2018, revealed a repeat

  violation and provided:

                The violation listed on the attachment must be corrected
                immediately or a REPEAT FINE WILL BE ASSESSED FOR
                EACH DAY it occurs. You will receive a notice to appear for a
                hearing before the Dunedin Code Enforcement Board for
                repeating the violation. If you are found to have committed a
                repeat violation by the Dunedin Code Enforcement Board, you
                will be assessed the repeat fine for each day the violation has
                occurred and that fine will become a lien on your real and/or
                personal property and may be collected pursuant to law.

  Doc. 42-4 at 144 (emphasis in original).

         Colbert sent this notice via “regular mail” to Suncoast First Trust at the Lady

  Marion Property. Id. at 14, 144. Additionally, Colbert prepared another notice,



  12
    During his deposition, Colbert claimed that he encountered Ficken in his yard on July 5,
  2018, but also stated that this encounter occurred on August 20, 2018. Doc. 42-7 at 94:11–25,
  95:1–19, 112:19–25, 113:1–25. Ficken asserts that the first time he communicated with
  Colbert regarding the 2018 case was on August 20, 2018, when Colbert purportedly advised
  Ficken, “You’re going to get a big bill from the city.” Doc. 43-2 ¶18. As Defendants highlight
  in their motion, this is not material because a verbal warning is not required.
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  entitled “Notice of Hearing (Repeat Violation),” also dated August 22, 2018 (the

  “2018 Hearing and Repeat Violation Notice”). Id. at 137 (emphasis in original). The

  2018 Hearing and Repeat Violation Notice cited the ordinance that had been violated,

  listed the date of the violation as July 5, 2018, indicated the violation was a repeat

  violation, and advised that a hearing was set for September 4, 2018. Id. Further, the

  2018 Hearing and Repeat Violation Notice provided:

               If you wish to present your side of the case, you must appear
               before the Code Enforcement Board on that date. Failure to
               appear may result in the Code Enforcement Board proceeding in
               your absence. Should you be found in violation of the above Code, the
               Dunedin Code Enforcement Board has the power by law to levy
               fines of up to $500.00 a day against you and your property for
               every day that any violation continues beyond the date set in an
               order of the Board for compliance and the City shall be entitled
               to recover attorney’s fees and all costs incurred in prosecuting the
               case before the Board. If the violation is corrected before the date
               of the hearing stated above, the case may still be presented to the
               Board and a fine may be assessed.

                                               ...

               You will also have the opportunity to present witnesses as well
               as question the witnesses against you prior to the Board making a
               determination.

  Id. (emphasis added).

        McHale sent a copy of the 2018 Hearing and Repeat Notice Violation via

  certified mail to Suncoast First Trust at the Lady Marion Property on August 22, 2018.

  Id. at 14. McHale provides an electronic mailing record, which she claims indicates

  that the 2018 Hearing and Repeat Notice Violation was held at the post office at the

  customer’s request. Id. Indeed, an attached electronic delivery confirmation indicates

  that a document described as “NOH 9-4-2018” was held at the post office at

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  “Customer Request” on August 24, 2018. 13 Id. at 139. Ficken confirmed that he made

  this request. Doc. 42-1 at 124:2–5. It is undisputed that, on the same day, Ficken

  requested a continuance of the hearing, or permission to appear telephonically,

  because his planet ticket could not be “changed or refunded.” It is also undisputed that

  Ficken admitted the repeat violation, although he contested the period of non-

  compliance. Additionally, Colbert executed an affidavit of service, which provided

  that, on August 22, 2018, a copy of “Notice of Hearing/Order” was: (1) mailed via

  certified mail, return receipt requested; (2) posted on the Lady Marion Property; and

  (3) posted at the City’s offices. Doc. 42-3 at 70; Doc. 42-4 at 14, 147. The attached

  “Notice of Hearing/Order” is not provided, but Defendants represent that this

  document was the 2018 Hearing and Repeat Notice Violation. Ficken’s deposition

  testimony supports this representation, as he indicated that he first learned of the

  hearing when he found a notice at the Lady Marion Property. Doc. 42-1 at 125:16–25,

  126:1–4.

        Ficken did not attend the September 4, 2018 hearing, nor did anyone attend on

  his behalf. McHale provides the minutes from the hearing, which demonstrate that

  Colbert explained that he had observed the overgrowth on July 5, 2018 and, because

  the Board heard “this same violation on May 5, 2015” and found that “any future

  violations would be a repeat violation with a higher fine,” the overgrowth at the Lady

  Marion Property constituted a repeat violation. Doc. 42-4 at 176. Colbert also


  13
    Defendants also provide this document as an exhibit to Ficken’s deposition. Doc. 42-3 at
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  provided several photographs of the overgrowth taken during July and August of 2018.

  Id. at 15, 183–197. According to the minutes, Kepto explained that the “City is asking

  for a two-part order from the Board”: (1) a finding by the Board that the Lady Marion

  Property was in repeat violation for a period of time until it came into compliance; and

  (2) a finding that the Lady Marion Property was in repeat violation beginning on

  August 31, 2018, and continuing until the compliance was achieved. Id. Colbert

  recommended that the Board impose a $500 per day fine “based on the facts and

  circumstances,” “the history of the property with the same owner,” and the “same

  violation.” Id. The parties agree that the Board thereafter voted to fine Suncoast First

  Trust as a repeat offender at the statutory maximum daily fine of $500. The Board’s

  written orders followed.

                          2. Analysis

        Upon consideration of the evidence, the relevant law, and the arguments of the

  parties, Defendants are entitled to summary judgment on the due process claims. First,

  the City informed Ficken of the consequences of the repeat violator classification and

  provided him with a meaningful opportunity to contest this classification before it was

  applied. 14 The 2015 Notice of Violation notified Ficken of the overgrowth violation.

  The 2015 Notice of Violation gave Ficken a reasonable time to correct the violation,



  14
     In responding to the due process arguments raised by Defendants in their summary
  judgment motion, Plaintiffs focus on only the City’s purported delay in informing Ficken in
  2018 that he “had been fined” and why the mere existence of an appellate mechanism did not
  bar Ficken from filing this action. Doc. 15 at 21–29.

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  and, critically, advised of the consequences that repeat violators may face: fines up to

  $500 per day. Kepto’s communications with Ficken also emphasized that a repeat

  violator could face a fine up to $500 per day.

        When Ficken failed to correct the violation by the deadline, a hearing was

  scheduled, pursuant to Section 162.06, Florida Statutes, and Section 22-72, DCO, and

  notice of that hearing was provided to Ficken in accordance with Section 162.12,

  Florida Statutes, and Section 22-84, DCO. However, Ficken elected not to attend the

  hearing for this violation. The Board found Suncoast First Trust in violation.

  Significantly, the Board’s written order, which Ficken received, also articulated the

  consequences of the “repeat violator” classification, advising that the matter was

  deemed to be of a recurring nature and that, if it recurred, the Board could levy fines

  up to $500 per day. And, if Ficken took issue with the Board’s finding, he could appeal

  to a circuit court. He did not do so. Thus, going into 2018, Ficken received notice of

  the consequences of the repeat violator classification and an opportunity to contest

  such classification before it was applied.

        He also received notice and an opportunity in 2018. Although Ficken did not

  receive notification of the repeat violation observed on July 5, 2018, until over one

  month later, neither Section 162.06, Florida Statutes, nor Chapter 22-73, DCO,

  required Colbert to notify Ficken upon observation of a repeat violation. Indeed, for

  repeat violations, Colbert was required to notify Ficken, but was not required to give

  Ficken a reasonable time to correct the violation. Colbert was required, upon notifying

  Ficken, to notify the Board and request a hearing. Even when viewed in the light most
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  favorable to Plaintiffs, the evidence demonstrates that the 2018 Notice of Repeat

  Violation and the 2018 Hearing and Repeat Violation Notice, the latter of which set

  the hearing, were separately sent to Suncoast First Trust on August 22, 2018. While

  an inference could be drawn that the City scheduled a hearing before notifying Ficken

  of the violation, the due process claims are not premised upon any alleged failure of

  the City to notify Ficken of the repeat violation before scheduling a hearing, nor have

  Plaintiffs made this argument. McHale sent the 2018 Hearing and Repeat Violation

  Notice to Suncoast First Trust via certified mail, as required. 15 In addition to receiving

  notice, the September 4, 2018 hearing afforded Ficken a meaningful opportunity to

  challenge the observed repeat violation before the Board made a determination. Like

  the 2015 hearing, Ficken decided not to attend. 16


  15
    The 2018 Hearing and Repeat Violation Notice provided that the Board could levy fines of
  up to $500 per day “for every day that the violation continues beyond the date set in an order
  of the Board for compliance,” which appears to be language geared towards a violation, not
  a repeat violation. Doc. 42-4 at 137. Nonetheless, this recognition does not affect the analysis,
  as Section 162.06(2), Florida Statutes, and Section 22-73(a), DCO, required the 2018 Hearing
  and Repeat Violation Notice only to notify Ficken of the scheduled hearing for the repeat
  violation, which it did.
  16
    Ficken claimed during his deposition that he asked Kristen Mendez (“Mendez”) to attend
  the September 4, 2018 hearing on his behalf. (Doc. 42-1 at 126:18–25, 127:1–10). According
  to her affidavit, supplied by Defendants, Mendez, a licensed real estate agent, contacted
  Ficken to see if he desired to sell the Lady Marion Property after she drove by the Lady
  Marion Property in the summer of 2018 and noticed that the property appeared to be
  unoccupied. Doc. 42-8 at 2. Ficken and Mendez do not have either a personal or professional
  relationship. Id. at 3. When Ficken indicated that he did not want to sell the property, Mendez
  told him to notify her if he changed his mind. Id. Thereafter, Ficken contacted Mendez to ask
  her to attend the 2018 hearing. Id. at 2. Mendez’s only prior interaction with Ficken was when
  she contacted him to determine if he wanted to sell the Lady Marion Property. Id. According
  to Ficken, Mendez initially agreed to attend the hearing, but then informed him on September
  3, 2018, less than twenty-four hours prior to the hearing, that she would not be able to appear.
  Doc. 42-1 at 127:8–25, 128:1–8. However, Mendez claims that, upon Ficken’s request, she
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         Additionally, Plaintiffs’ assertion, upon which they base their due process

  claims, that the City’s imposition of fines against Ficken without providing him notice

  that the fines were being imposed on an ongoing basis is flawed. Neither the City nor

  the Board imposed fines against Ficken or Suncoast First Trust ahead of the hearing.

  Plaintiffs’ contention to the contrary in the Amended Complaint and on summary

  judgment is not supported by the law. Under both Chapter 162, Florida Statutes, and

  Chapter 22, DCO, the Board must first “find[] that a repeat violation has been

  committed” before ordering the repeat violator to pay a fine. Fla. Stat. § 162.09(1);

  City of Dunedin, Fla., Code of Ordinances § 22-79(a). Additionally, a “fine imposed

  pursuant to” this procedure cannot exceed $500 per day for a repeat violation. Fla.

  Stat. § 162.09(2)(a); City of Dunedin, Fla., Code of Ordinances § 22-79(d) (emphasis

  added). If a finding of repeat violation has been made as provided in this procedure,

  “a hearing shall not be necessary for issuance of the order imposing the fine.” Fla. Stat.

  § 162.09(1); City of Dunedin, Fla., Code of Ordinances § 22-79(c) (emphasis added).

  At the conclusion of a hearing, the Board must issue findings of fact and conclusions

  of law, and its order may include “that a fine may be imposed . . . .” Fla. Stat. §

  162.07(4); City of Dunedin, Fla., Code of Ordinances § 22-75(f).




  told him that she would need to check with her broker, who advised against attending the
  hearing because she did not represent Ficken or the Lady Marion Property and otherwise
  lacked a relationship with either. Doc. 42-8 at 2. Even if Ficken’s testimony is taken as true
  and all reasonable inferences are drawn in his favor, Plaintiffs do not explain why any failure
  of Mendez to attend the hearing on Ficken’s behalf demonstrates a deprivation of due process.


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        The evidence provided by Defendants, even when viewed in the light most

  favorable to Plaintiffs and drawing all reasonable inferences in Plaintiffs’ favor, also

  demonstrates that Plaintiffs’ contention regarding imposition of the fines is

  unsupported. The 2018 Notice of Repeat Violation advised Ficken that the fines “will

  be assessed” if he was “found to have committed a repeat violation.” Doc. 42-4 at 114

  (emphasis added). Similarly, the 2018 Hearing and Repeat Notice Violation advised

  Ficken to appear at the hearing if he “wish[ed] to present [his] side of the case.” Doc.

  42-4 at 137. The minutes from the September 4, 2018 hearing demonstrate that Kepto

  explained that the City sought a two-part order “finding” the Lady Marion Property

  in violation during two periods of time. Doc. 42-4 at 176. Colbert presented evidence

  of the overgrowth. Colbert recommend the maximum fine allowed under the law for

  a repeat violation. After the Board voted to impose the fines, the written orders of

  repeat violations issued, which, consistent with the law, imposed the fines.

        The Court applies the Mathews test to determine what process is constitutionally

  required. “Mathews applies only where an individual has a liberty or a property interest

  that the government seeks to eliminate, and the Mathews test concerns the

  administrative procedures required.” Grayson v. King, 460 F.3d 1328, 1340 (11th Cir.

  2006). Florida courts also employ this analysis in examining due process claims under

  the Florida Constitution. See Keys Citizens for Responsible Gov’t, 795 So. 2d at 948.

        During oral argument, Plaintiffs’ counsel claimed that Ficken “clearly . . . had

  a property interest at stake” because “[h]e was going to be fined $500 per day and, in

  fact, was being fined $500 per day without his knowledge.” Doc. 84 at 9:2–4. But,
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  assuming that Plaintiffs have a property interest, the risk of an erroneous deprivation

  of this interest through the procedures used is low. The evidence shows that notice and

  a hearing were provided. In 2015, the hearing, which provided Ficken with an

  opportunity to be heard at a meaningful time and in a meaningful manner, was

  scheduled only after the Lady Marion Property failed to achieve compliance by the

  compliance date. The resulting Board order in 2015 advised that the matter was of a

  “recurring nature” and that the Board could levy fines up to $500 per day, if it recurred.

  Doc. 42-4 at 118. Thus, Plaintiffs were on notice of the “repeat violator” classification.

  The afforded process complied with Chapter 162, Florida Statutes, and Chapter 22,

  DCO.

         Similarly, in 2018, the City notified Ficken of the repeat violation through the

  2018 Notice of Violation, and the 2018 Hearing and Repeat Violation Notice

  scheduled the hearing. Although this notice came several weeks after Colbert’s first

  observation of the violation on July 5, 2018, the Board’s 2015 order had placed

  Plaintiffs on notice of the recurring nature of the matter and the consequences. Further,

  neither the City nor the Board imposed fines against Ficken or Suncoast Trust on an

  ongoing basis or ahead of the hearing, as discussed in more detail herein. The 2018

  hearing, during which time the Board considered whether to impose any fines and the

  amount of those fines, afforded Ficken a meaningful opportunity to “present [his] side

  of the case,” present witnesses, and question the witnesses against him. Doc. 42-4 at

  137.



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        The probable value of additional or substitute safeguards is also minimal, given

  that notice and a hearing were provided in 2015 and 2018 and the fines were not

  imposed until the Board made a determination at the hearing. Defendants have an

  interest in protecting the health, safety, and welfare of City residents, and providing

  additional notice and a hearing would likely be burdensome on Defendants. For

  example, affording additional notice and another hearing after finding the violation in

  2015, but before finding the matter to be of a recurring nature, would likely result in

  aggrieved parties seeking to relitigate findings of violation.

        Plaintiffs contend that Defendants’ arguments fail because Ficken did not

  receive notice that he was being fined, which therefore violated his right to due process.

  In opposing Defendants’ Dispositive Motion for Summary Judgment, Plaintiffs repeat

  many of their arguments submitted in support of their summary judgment motion,

  which is discussed below. Plaintiffs claim that “[i]t is not disputed that the first time

  the City provided formal notice to [Ficken] that he had been fined was in a letter dated

  August 22, 2018—nearly seven weeks after the fines began.” Doc. 51 at 21 (emphasis

  added). Plaintiffs similarly argue that “the City’s daily fines—which were imposed and

  accrued without notice to [Ficken]—are thus ‘judgments without notice.’” But, as

  demonstrated above, the fines were not imposed until the Board decided to impose

  fines for the repeat violation at the hearing. Even if Chapter 22, DCO, may be

  construed as providing that a repeat violation fine may accrue, accrual is distinct from

  imposition. Plaintiffs have not provided any law persuasively demonstrating

  otherwise. Therefore, Plaintiffs’ arguments in opposition are unavailing.
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        The federal due process claim also fails because Plaintiffs have not proven a

  “constitutionally inadequate process.” Foxy Lady, Inc., 347 F.3d at 1236 (internal

  quotation marks omitted). As discussed above, the bases for Plaintiffs’ claim of

  constitutional inadequacy fail. Further, even if a deprivation of due process occurred,

  the federal procedural due process claim is not cognizable under Section 1983 because

  a means by which to remedy the alleged deprivation exists. Specifically, both Section

  162.11, Florida Statutes, and Section 22-83, DCO, provided Ficken with the

  opportunity to appeal the Board’s orders to the circuit court. Upon appeal, the circuit

  court’s review would have been “limited to appellate review of the record created

  before the code enforcement board.” Fla. Stat. § 162.11; City of Dunedin, Fla., Code

  of Ordinances § 22-83. Section 162.11, Florida Statutes, “provides for a plenary appeal

  to the circuit court as a matter of right from a final administrative order of an

  enforcement board.” C. Fla. Inv., Inc. v. Orange Cnty., 295 So. 3d 292, 293 (Fla. 5th

  DCA 2019). An appeal of the Board’s 2015 order would have allowed the circuit court

  to conduct appellate review of the violation that led to Suncoast First Trust being

  designated as a “repeat violator.” On appellate review, “all errors below may be

  corrected: jurisdictional, procedural, and substantive.” Id. at 295 (distinguishing

  review by appeal from review by certiorari). Further, an appeal of the Board’s 2018

  orders would have allowed the circuit court to conduct appellate review of the record

  created before the Board that resulted in the Board imposing fines for the repeat

  violation. Ficken did not appeal these orders, but only sought reconsideration of the



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  2018 orders. 17 This remedial procedure is adequate. See Lindbloom v. Manatee Cnty.,

  No. 8:18-cv-02642-T-02AEP, 2019 WL 2503145, at *4 (M.D. Fla. June 17, 2019)

  (stating that an adequate state remedial procedure need not provide all relief available

  under Section 1983, but must be able to correct any existing deficiencies and provide

  the plaintiff with whatever process is due), aff’d F. App’x 745 (11th Cir. 2020), cert.

  denied sub nom. Lindbloom v. Manatee Cnty., Fla., 141 S. Ct. 679 (2020). As such, the

  federal due process claim additionally fails because Plaintiffs have not proven a

  “constitutionally inadequate process” and, even if a deprivation of due process

  occurred, a means to remedy the alleged deprivation exists.

         Plaintiffs argue in response that exhaustion is not required for Section 1983

  cases. Doc. 51 at 24–25. As highlighted above, Defendants do not argue exhaustion of

  administrative remedies for the federal procedural due process claim, but instead that,

  even if a deprivation of due process occurred, the federal claim is not cognizable under

  Section 1983 because a means by which to remedy the alleged deprivation exists. The

  cases cited by Plaintiffs for the proposition that a claim is not barred on exhaustion

  grounds where the due process violation is not complete, and that the procedural due

  process errors preceded the Board’s review, are distinguishable, and the analysis above

  highlights that any due process violation upon which the federal claim is premised was



  17
     Plaintiffs seek to weaponize the Board’s decision to consider the requests for reconsideration
  by arguing that Ficken would have been able to appeal the orders within the 30-day deadline
  if the Board “had not delayed its action” on Ficken’s request. Doc. 51 at 26. But, the law does
  not require Ficken to seek reconsideration of the orders before appealing. This argument is
  unavailing.
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  not complete. See McKinney, 20 F.3d at 1562 (stating that procedural due process

  violations “do not become complete ‘unless and until the state refuses to provide due

  process’”). Plaintiffs also briefly question the utility of an appeal and claim that Ficken

  “had neither the opportunity to confront” Colbert “nor mount a basic defense,”

  leading Plaintiffs to characterize the record before the Board as “biased.” Doc. 51 at

  26–27. However, the Court declines to use Ficken’s decision not to attend the hearing

  to disregard the process afforded or the availability of the appeal. Plaintiffs’ remaining

  arguments in opposition are unpersuasive.

         Finally, Defendants argue that they are also entitled to summary judgment on

  the procedural due process claim under the Florida Constitution because Ficken failed

  to exhaust his administrative remedies. Doc. 42 at 24–25. Defendants rely on one case

  for this proposition: Conley v. City of Dunedin, No. 8:08-cv-1793-T-24AEP, 2010 WL

  146861 (M.D. Fla. Jan. 11, 2010). In Conley, the Conleys argued, among other things,

  that the City violated their procedural due process rights to notice and an opportunity

  to be heard under the Florida Constitution by refusing their request to continue two

  code enforcement hearings on citations. 2010 WL 146861, at *6. The Court

  acknowledged that, although Section 162.11, Florida Statutes, provided the Conleys

  with thirty days to appeal, they waited more than two years to initiate the

  constitutional challenge. Id. The Court explained that Florida law required the

  Conleys to “exhaust their administrative remedies” before they could “challenge the

  City’s actions as applied to them on state constitutional grounds.” Id. Although Conley

  is persuasive for other propositions, the claims or facts in the cases upon which Conley
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  relies for this conclusion are distinct from those in the present action. Further,

  “[f]ailure to file an appeal to the circuit court pursuant to section 162.11, Florida

  Statutes, is technically not an administrative remedy.” Wilson v. Cnty. of Orange, 881

  So. 2d 625, 631 (Fla. 4th DCA 2004). However, notwithstanding these recognitions,

  Defendants are entitled to summary judgment on the claim for due process under the

  Florida Constitution because, as articulated above, due process was provided.

        Thus, based on the foregoing analysis, Defendants have demonstrated that there

  is no genuine dispute of material fact as to the procedural due process claims and that

  they are entitled to judgment as a matter of law as to those claims. As such,

  Defendants’ Dispositive Motion for Summary Judgment will be granted as to the due

  process claims.

                    iii. Plaintiffs’ Dispositive Motion for Summary Judgment

        In moving for summary judgment on the due process claims, Plaintiffs submit

  two arguments: (1) that the City violated Ficken’s right to due process when it failed

  to inform him that he would be fined; and (2) that the City violated Ficken’s due

  process rights by classifying him as a repeat violator. Many of the points raised in the

  summary judgment motion overlap with the analysis above. For the reasons set forth

  below, Plaintiffs’ Dispositive Motion for Summary Judgment will be denied.

        Plaintiffs claim that the City’s failure to notify Ficken that the Lady Marion

  Property was the subject of “open code enforcement cases” violates due process. As

  Plaintiffs highlight, both Section 162.06(3), Florida Statutes, and Section 22-73(a),

  DCO, required Colbert to notify Ficken of the repeat violation. However, as Plaintiffs
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  concede, both the statute and the ordinance are silent on precisely when notice must

  be provided. Plaintiffs seize on this silence to argue that the “answer is not after tens

  of thousands in fines have accrued.” Doc. 43 at 29. In further support of the alleged

  lack of due process, Plaintiffs point out that Section 22-79(a), DCO, “adopts such a

  reading” by stating that the Board, upon finding that a repeat violation has been

  committed, may order the repeat violator to pay a fine for each day the repeat violation

  continues past the date of notice of the repeat violation. Id. On this basis, Plaintiffs

  contend that Ficken was entitled to “reasonable notice once he was on the hook for

  daily fines” and that the City never told him, “as it was required to do,” that a repeat

  violation had been discovered. Id. at 30.

        True, “Florida courts ‘fill the procedural gaps in [chapter 162] by the common-

  sense application of basic principles of due process.” Kupke, 293 F. App’x at 699

  (alteration in original) (quoting Massey, 842 So. 2d at 145). But, Plaintiffs’ argument

  ignores the notice that was provided. The Court declines to repeat its analysis above,

  which demonstrates that due process was afforded. And, given the provided notice

  and hearings, Plaintiffs’ reading of the statute is unpersuasive. In moving for summary

  judgment, Ficken submits a declaration, in which he admits that his “understanding

  was that, as a ‘repeat violator,’ the City could technically fine [him] up to $500 per day

  for another violation.” Doc. 43-2 ¶13. Despite this concession, Ficken claims, without

  any persuasive justification, that he nonetheless “never thought” that the City “would

  issue a fine like that for something as insignificant as tall grass and that he “was sure

  the City would at least tell [him] that [his] grass was too tall” before fining him as a
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  repeat violator. Id. However, the 2015 order from the Board was clear: the matter was

  deemed to be of a recurring nature and, if it recurred, the Board had the ability to levy

  fines up to $500 per day. Ficken’s expectation that the City “would at least” tell him

  about the grass being too tall seeks to shift property ownership responsibility onto the

  City. For the reasons set forth above, this view lacks support in the law and the

  provided evidence.

         Further, as previously discussed, neither the City nor the Board imposed fines

  resulting from the repeat violation on an ongoing basis or prior to the Board’s

  determination at the noticed 2018 hearing. Plaintiffs point to certain evidence to argue

  that fines begin accruing from when the repeat violation is first observed. Doc. 43 at

  29. For example, Kepto testified that fines start accruing for a repeat violation from

  when that repeat violation is first observed. Doc. 43-19 at 49:16–25, 50:1–2. Similarly,

  notes from a May 2019 meeting indicate that Trask represented that fines for repeat

  violations “begin to run on the day of the inspection of the property.” Doc. 42-25 at 6.

  Again, there is a distinction between accrual and imposition, and this general evidence

  of supposed practice, when viewed in the light most favorable to Defendants, does not

  evidence that the Board imposed fines resulting from the repeat violation on an

  ongoing basis or prior to its determination at the 2018 hearing.

        Next, in support of its argument that the City violated Ficken’s procedural due

  process rights when it classified him as a repeat violator, Plaintiffs contend that “it was

  not made known at the time of the 2015 hearing” that the 2015 violation would

  “strip[]” Ficken of “any entitlement to notice for future violations.” Doc. 43 at 30–31.
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  Of course, Plaintiff elected not to attend this hearing and, as discussed above, notice

  for the repeat violation was provided. Although Plaintiffs cite certain statements made

  by a Board member during the 2015 hearing that a fine for a repeat violation is not an

  “automatic $500”and Ficken would “know” if there was an “issue,” Plaintiffs do not

  demonstrate that this statement binds the Board to future action, creates or evidences

  the absence of a genuine dispute of material fact, or establishes a due process violation.

  Id. at 31.

         Therefore, based on the foregoing reasons, Plaintiffs have not demonstrated that

  there is no genuine dispute of material fact or that they are entitled to judgment as a

  matter of law as to the procedural due process claims. As such, Plaintiffs’ Dispositive

  Motion for Summary Judgment will be denied as to the procedural due process claims.

               C. Excessive Fines

         Plaintiffs bring claims under the Excessive Fines Clause of the Eighth

  Amendment to the United States Constitution and the Excessive Fines Clause of

  Section 17 of Article I of the Florida Constitution. Plaintiffs and Defendants move for

  summary judgment on these claims.

         Plaintiffs argue that daily files of $500 and a total fine of nearly $30,000 for tall

  grass is unconstitutional under the United States Constitution and the Florida

  Constitution. Doc. 43 at 22–29. In seeking summary judgment on the excessive fines

  claim under the United States Constitution, Plaintiffs emphasize the principle of

  proportionality to assert that the fines are grossly disproportional to the gravity of the

  offense. Id. at 22–26. According to Plaintiffs, Ficken does not fall into the class of
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  persons at whom the ordinance was principally directed, the existence of lesser

  penalties highlights the excessiveness of the imposed fines, and the tall grass at the

  Lady Marion Property did not cause any harm to neighbors or the government. Id. at

  23–26. They also urge the Court to consider additional factors, such as Ficken’s

  culpability and the City’s conduct. Id. at 25–26. In seeking summary judgment on the

  excessive fines claim under the Florida Constitution, Plaintiffs argue that the fines and

  foreclosure are “patently and unreasonably harsh or oppressive because they work a

  drastic sanction” by forcing Ficken to “lose his home or pay an exorbitant fine to save

  it.” Id. at 27. Plaintiffs also contend that the fines and foreclosure shock the conscience

  of reasonable men and exceed any reasonable requirements for redressing the wrong.

  Id. at 27–28.

        Defendants argue that the fines fall within the range of fines that may be

  imposed for original or repeat violations under Chapter 162, Florida Statutes, and

  Chapter 22, DCO. Doc. 42 at 18–21. Defendants claim that any reliance upon cases

  concerning forfeiture, restitution, and other criminal fines are distinguishable because

  those concepts do not present any utility in noncriminal code enforcement matters. Id.

  at 18–19. Defendants also claim that foreclosure does not fall within the ambit of the

  Eighth Amendment because it serves to remediate, not punish. Id. at 21–22. For the

  reasons set forth below, Defendants’ Dispositive Motion for Summary Judgment will

  be granted as to the excessive fines claims.

                   i. Relevant Law



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         The Eighth Amendment to the United States Constitution provides, “Excessive

  bail shall not be required, nor excessive fines imposed, nor cruel and unusual

  punishments inflicted.” U.S. Const. amend. VIII. The Excessive Fines Clause is

  incorporated by the Due Process Clause of the Fourteenth Amendment to the United

  States Constitution. Timbs v. Indiana, 139 S. Ct. 682, 687 (2019). “The Excessive Fines

  Clause limits the government’s power to extract payments, whether in cash or in kind,

  ‘as punishment for some offense.’” Austin v. United States, 509 U.S. 602, 610 (1993)

  (emphasis in original) (quoting Browning-Ferris Indus. of Vt., Inc. v. Kelco Disposal, Inc.,

  492 U.S. 257, 265 (1989)). Thus, the question is whether the fine or sanction is punitive

  and, therefore, constitutes a “fine” for Eighth Amendment purposes. United States v.

  817 N.E. 29th Drive, Wilton Manors, Fla., 175 F.3d 1304, 1309 (11th Cir. 1999). The fine

  or sanction must only serve “in part to punish.” Austin, 509 U.S. at 610; see Conley,

  2010 WL 146861, at *5 (“The Clause, however, only applies to assessments that can

  be considered ‘fines’ because the assessments are designed, in part, to punish.”)

         The “fine” under the Eighth Amendment also must be “excessive.” Wilton

  Manors, 175 F.3d at 1309. “A fine is excessive ‘if it is grossly disproportional to the

  gravity of a defendant’s offense.’” Wilton Manors, 175 F.3d at 1309 (quoting United

  States v. Bajakajian, 524 U.S. 321, 334 (1998)). Indeed, “[t]he touchstone of the

  constitutional inquiry under the Excessive Fines Clause is the principle of

  proportionality.” Bajakajian, 524 U.S. at 334.




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         The Excessive Fines Clause of the Eighth Amendment was “intended as a

  limitation on courts, not legislatures.” Wilton Manors, 175 F.3d at 1309 n.8; see

  Bajakajian, 524 U.S. at 336 (recognizing that “judgments about the appropriate

  punishment for an offense belong in the first instance to the legislature” as “particularly

  relevant” to the constitutional excessiveness inquiry). In the context of examining a

  challenge to a cumulative fine imposed under Chapter 162, Florida Statutes, under the

  Excessive Fines Clause of the United States Constitution and the Excessive Fines

  Clause of the Florida Constitution, the Eleventh Circuit has emphasized that there “is

  a strong presumption that the amount of a fine is not unconstitutionally excessive if it

  lies within the range of fines prescribed by the legislature.” Moustakis v. City of Ft.

  Lauderdale, 338 F. App’x 820, 821 (11th Cir. 2009) (internal quotation marks omitted)

  (quoting Bajakajian, 524 U.S. at 326). “[A]nalysis of Excessive Fines claims is a pure

  question of law.” United States v. One Parcel of Real Estate at 10380 SW 28th Street, Miami,

  Fla., 214 F.3d 1291, 1293 (11th Cir. 2000).

         Finally, the Florida Constitution provides that “[e]xcessive fines . . . are

  forbidden.” Fla. Const. art. I, § 17. “Well-settled Florida decisional authority provides

  that a statutorily authorized civil fine will not be deemed so excessive as to be cruel or

  unusual unless it is so great as to shock the conscience of reasonable men or is patently

  and unreasonably harsh or oppressive.” Locklear v. Fla. Fish & Wildlife Conservation

  Comm’n, 886 So. 2d 326, 329 (Fla. 5th DCA 2004) (citing Amos v. Gunn, 94 So. 615

  (1922)). “A fine within the permissible range otherwise authorized by the legislature is

  presumptively constitutional.” State v. Cotton, 198 So. 3d 737, 743 (Fla. 2d DCA 2016).
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                    ii. Analysis

         Based on the allegations in the Amended Complaint, the Court construes these

  excessive fines claims as raising both facial challenges and as-applied challenges. 18 “A

  facial challenge asserts that a law always operates unconstitutionally and an as-applied

  challenge asserts that a law is unconstitutional on the facts of the particular case or to

  a particular party.” Lindbloom, 808 F. App’x at 745 (citing Harris v. Mexican Specialty

  Foods, Inc., 564 F.3d 1301, 1308 (11th Cir. 2009)).

         The Court first must determine whether the $500 repeat violation fines, the total

  fine of more than $29,000, and the foreclosure constitute “fines” under the Eighth

  Amendment. As such, the Court must determine whether they serve, at least in part,

  to punish. The Eleventh Circuit, in an unpublished opinion, has treated fines imposed

  under Chapter 162, Florida Statutes, as “fines” under the Eighth Amendment. See

  Moustakis, 338 F. App’x at 821–22. As such, the Court will assume, without deciding,

  that the $500 repeat violation fines and the resulting total fine of more than $29,000

  constitute “fines” under the Eighth Amendment. 19 Defendants contend that the



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    Indeed, the claims allege that: (1) as applied, the City’s daily fines of $500 and total fines of
  over $29,000 are disproportionate to the “offense” of having tall grass; (2) as applied, the
  foreclosure of the Lady Marion Property is disproportionate to the offense of having tall grass;
  (3) on its face and as applied, the City’s “system of limitless fines for all non-irreparable code
  violations,” such as unlimited fines for tall grass, violates the Excessive Fines Clauses of the
  United States Constitution and the Florida Constitution; and (4) for the excessive fines claim
  under the Florida Constitution, the penalty of foreclosure for having tall grass, as applied,
  shocks the conscience. Doc. 77 ¶¶94–120.
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    Although Moustakis did not involve Chapter 22, DCO, the Court’s analysis above highlights
  the relationship between Chapter 162, Florida Statutes, and Chapter 22, DCO.


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  impending foreclosure is not subject to Eighth Amendment scrutiny because it is

  remedial. 20 Doc. 42 at 21. According to Defendants, the foreclosure “remediates the

  matter of an unsatisfied lien” by way of an in rem proceeding “and imposes no penalty

  distinct from that of the fine which created it.” Id. at 21–22. In other words, because the

  foreclosure does not impose a penalty separate from the fines, it serves to remediate,

  rather than to punish. This argument is unpersuasive. Thus, for purposes of the

  analysis below, the Court will assume, without deciding, that the foreclosure

  constitutes a “fine.”

         The next question is whether the $500 repeat violation fines, the total fine of

  more than $29,000, and the foreclosure are “excessive” under the Eighth Amendment.

  Binding cases on this issue arise in the contexts of forfeiture, restitution, criminal fines,

  or comparable areas. See, e.g., Austin, 509 U.S. at 604–605; Bajakajian, 524 U.S. at 324;

  Wilton Manors, 175 F.3d at 1306.

         However, the Eleventh Circuit’s analysis in Moustakis is persuasive and

  instructive for the present analysis. There, the City of Fort Lauderdale found the

  Moustakises’ home in violation of the City’s ordinances in 1993 and ordered the

  Moustakises to bring their home into compliance or pay a fine of $150 per day until

  the house was brought into compliance. 338 F. App’x at 821. As a result of the



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     Because the Board authorized Trask to pursue foreclosure of the Lady Marion Property to
  collect on the liens, the challenge to the foreclosure here is ripe. See Club Madonna, Inc. v. City
  of Miami Beach, 924 F.3d 1370, 1381 (11th Cir. 2019) (“Eighth Amendment challenges are
  generally not ripe until the imposition, or immediately impending imposition, of a challenged
  punishment or fine.”).
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  Moustakises’ failure to bring their home into compliance by 2002, the City of Fort

  Lauderdale filed a lien on the house. Id. Thereafter, the Moustakises sued the City of

  Fort Lauderdale in federal court, alleging that a lien of over $700,000 had been placed

  on the house. Id. The Moustakises sought to have the lien and the underlying fines

  reduced or abolished, arguing that they were excessive under the United States

  Constitution and the Florida Constitution. Id.

         The Eleventh Circuit upheld the dismissal of the complaint, observing that there

  “is a strong presumption that the amount of a fine is not unconstitutionally excessive

  if it lies within the range of fines prescribed by the legislature.” Id. (internal quotation

  marks omitted) (quoting Bajakajian, 524 U.S. at 336). Indeed, in Bajakajian, which

  involved a forfeiture, the Supreme Court emphasized that “judgments about the

  appropriate punishment for an offense belong in the first instance with the legislature.”

  524 U.S. at 336. And so, in reviewing the Moustakises’ challenge to the aggregate fine,

  the Moustakis court held that the $150 per day fine that had accrued for fourteen years

  into approximately $700,000 was due “substantial deference” because it was within

  the range of fines prescribed by the Florida Legislature in Section 162.09, Florida

  Statutes. 338 F. App’x at 821. Further, the $700,000 total fine “was created by the

  Moustakises’ failure to bring the house into compliance each day for 14 years.” Id. at

  822. The Eleventh Circuit explained that the $700,000 total fine was not grossly

  disproportionate, but, “literally, directly proportionate to the offense.” Id.

         Other courts have also rejected excessive fines challenges to fines within the

  range prescribed by Chapter 162, Florida Statutes. See, e.g., Conley, 2010 WL 146861,
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  at *5 (“Since the City’s fines of $50 and $100 a day fall within the range permitted by

  the Legislature under Florida Statute § 162.09(2), which permits daily fines of $250,

  the Court cannot find that the fines here are ‘grossly disproportional’ to the offense.”);

  Marfut v. City of N. Port, No. 8:08-cv-2006-T-27EAJ, 2009 WL 790111, at *7 (M.D.

  Fla. Mar. 25, 2009) (finding that the fines, which “were initially $50 per day or less”

  and accumulated to more than $47,000 “due to Plaintiff’s failure to remedy the

  violations at her properties,” were authorized by Florida and not grossly

  disproportional to remedy the violations); Lindbloom, 2019 WL 2503145, at *8 (“A fine

  of $50 per day to total less than $5,000—which is within the bounds set by the

  legislature—is not excessive.”).

         Therefore, there is a strong presumption that the amount of the fines here are

  not unconstitutionally excessive. The fine of $500 per day for a repeat violation and

  the total fine in excess of $29,000 fall within the range of legislatively authorized

  fines. 21 See Fla. Stat. § 162.09(2)(a); City of Dunedin, Fla., Code of Ordinances § 22-



  21
    The aggregate fine of over $29,000 also includes costs and interest. Doc. 42-4 at 229. In the
  February 13, 2019 letter, Trask advised that the accrued fine for the first lien totaled
  $24,454.36, which, aside from the principal amount, included $721.36 in interest, $200.00 in
  attorney’s fees, and $33.00 in recording costs. Id. The accrued fine for the second lien totaled
  $5,379.14, which, aside from the principal amount, included $136.14 in interest, $200.00 in
  attorney’s fees, and $43.00 in recording costs.“[T]he local governing body shall be entitled to
  collect all costs incurred in recording and satisfying a valid lien.” Fla. Stat. § 162.10. See City
  of Dunedin, Fla., Code of Ordinances § 22-82 (providing that the city commission may collect
  all costs that are incurred in recording and satisfying a valid lien). Further, under Chapter 162,
  an enforcement board may authorize a local governing body attorney “to foreclose on the lien
  or to sue to recover a money judgment for the amount of the lien plus accrued interest.” Fla.
  Stat. § 162.09(3).



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  79(d). Further, Plaintiffs argue that the foreclosure is excessive only in the context of

  their claim under the Excessive Fines Clause of the Florida Constitution. Doc. 43 at

  26–28.

        In the context of forfeitures, the Eleventh Circuit has set forth the following

  considerations for determining whether a fine is “grossly disproportional” to the

  gravity of the offense by examining: “(1) whether the defendant falls into the class of

  persons at whom the criminal statute was principally directed; (2) other penalties

  authorized by the legislature (or the Sentencing Commission); and (3) the harm caused

  by the defendant.” United States v. Sperrazza, 804 F.3d 1113, 1127 (11th Cir. 2015)

  (internal quotation marks omitted). Given the obvious distinctions between the facts

  of this case and a forfeiture, the Court is not persuaded that this test is applicable when

  examining fines imposed by a code enforcement board. Nonetheless, in an abundance

  of caution, the Court will apply the test. Application demonstrates that summary

  judgment is warranted for Defendants.

        First, both Chapter 162, Florida Statutes, and Chapter 22, DCO, establish two

  classes of persons: violators and repeat violators. The evidence demonstrates that Lady

  Marion Property was in repeat violation. Indeed, Ficken admitted the repeat violation

  in his communications with the Board in 2018. Plaintiffs argue that $500 fines are

  reserved for vacant properties and properties owned by absentee landlords. Doc. 43 at

  23. However, as Defendants point out, neither Chapter 162, Florida Statutes, nor

  Chapter 22, DCO, make this distinction. Doc. 49 at 7. Thus, Ficken falls within one



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  of the two classes of person at whom Chapter 162, Florida Statutes, and Chapter 22,

  DCO is principally directed.

        Second, for other authorized penalties, Plaintiffs argue that the City could have

  imposed a lesser fine. Doc. 43 at 23. In support, Plaintiffs claim that the Board did not

  consider fines at $25 per day or $50 per day, but instead set “the maximum amount

  allowed by law.” Id. at 23–24. According to Plaintiffs, “a verbal warning would have

  sufficed.” Id. at 24. However, as detailed above, there is a strong presumption that the

  amount of the fines here are not unconstitutionally excessive. The fine of $500 per day

  falls within the range authorized by Chapter 162, Florida Statutes, and Chapter 22,

  DCO. The resulting aggregate fine is due “substantial deference.” Moustakis, 338 F.

  App’x at 821. Neither Chapter 162, Florida Statutes, nor Chapter 22, DCO, require a

  prior fine before imposing the maximum fine allowed by law, gradually increasing

  fines, or a “verbal warning.”

        Third and finally, the intent behind Chapter 162, Florida Statutes, and Chapter

  22, DCO, is to “promote, protect, and improve the health, safety, and welfare” of

  citizens of the City through the imposition of fines and administrative penalties to

  enforce the City’s codes and ordinances. Fla. Stat. § 162.02; City of Dunedin, Fla.,

  Code of Ordinances § 22-1. Here, there is harm through the repeated violations of the

  overgrowth ordinance. Further, the Court agrees with Defendants that the regular

  maintenance of residential property furthers the public health, safety, and welfare.

  Indeed, Kepto and Colbert testified that properties with overgrown grass draw snakes,

  rats, and other vermin. Doc. 42-5 at 32:1–18, 38:13–17; Doc. 42-7 at 76:18–25, 77:1–
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  5. Trask similarly testified that, in addition to leading to rats, mice, and other vermin,

  overgrown grass may impact property values or produce the appearance of abandoned

  property. Doc. 42-11 at 52:13–25. Colbert’s notes from 2018 indicate that he received

  “several complaints of overgrowth” regarding the Lady Marion Property. Doc. 42-4

  at 129. Plaintiffs seek to undercut any harm by pointing out, among other things, that

  Colbert did not observe any vermin at the Lady Marion Property, that Trask could not

  identify a study performed by the City linking tall grass to property values, and

  Colbert’s personal opinion that tall grass did not constitute a “serious offense.” Doc.

  42-7 at 76:18–19, 104:8–11; Doc. 42-11 at 53:3–18. But, this analysis falls against a

  backdrop in which there is a strong presumption that the fines are not

  unconstitutionally excessive, and the evidence provided by Plaintiffs does not

  persuasively demonstrate that overgrowth at the Lady Marion Property presented

  “zero harm” to “neighbors or the government,” as Plaintiffs claim. Doc. 43 at 24

  (emphasis added). Therefore, the $500 fine and the total fine in excess of $29,000 are

  not grossly disproportional under the Eighth Amendment.

        This analysis is also applicable to Plaintiffs’ claim under the Excessive Fines

  Clause of the Florida Constitution. See Moustakis, 338 F. App’x at 821–22 (articulating

  the presumption afforded to fines falling within legislatively-set ranges and utilizing

  the “grossly disproportionate” standard in the context of claims under the Excessive

  Fines Clause of the United States Constitution and the Florida Constitution); Ripoelle

  v. Dep’t of Fin. Servs., Div. of Workers’ Comp., 907 So. 2d 1220, 1223 (Fla. 1st DCA 2005)

  (articulating the “grossly disproportionate” analysis in examining a challenge under
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  the Excessive Fines Clause of the Florida Constitution). As such, for the reasons set

  forth above, the $500 daily fine and the total fine in excess of $29,000 are not grossly

  disproportional under the Florida Constitution. Despite alleging that, as applied, the

  foreclosure of the Lady Marion Property is disproportionate to having tall grass,

  Plaintiffs, in seeking summary judgment, argue that the foreclosure is excessive only

  in the context of their claim under the Excessive Fines Clause of the Florida

  Constitution, such as by arguing that the foreclosure shocks the conscience and is

  patently and unreasonably harsh or oppressive. Doc. 26–28. Under Chapter 162,

  Florida Statutes, and Chapter 22, DCO, the Board may authorize the foreclosure of a

  lien if the lien remains unpaid after three months. Fla. Stat. § 162.09(3); City of

  Dunedin, Fla., Code of Ordinances § 22-81. That is what occurred here. Again,

  assuming the foreclosure is a punishment, “judgments about the appropriate

  punishment for an offense belong in the first instance to the legislature.” Bajakajian,

  524 U.S. at 336. Thus, deference is due to these legislative enactments. And, while this

  deference does not bar an as-applied challenge, the foreclosure is not grossly

  disproportional, nor does it shock the conscience or otherwise serve as patently and

  unreasonable harsh or oppressive.

        Finally, Plaintiffs’ facial challenge as to the City’s purported system of limitless

  fines for non-irreparable code violations fails. “A facial challenge to a legislative Act

  is, of course, the most difficult challenge to mount successfully, since the challenge

  must establish that no set of circumstances exists under which the Act would be valid.”

  United States v. Salerno, 481 U.S. 739, 745 (1987). See Cotton, 198 So. 3d at 742 (“A
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  facial challenge to a statute . . . must establish that no set of circumstances exists under

  which the statute would be valid.”). A party challenging the constitutional validity of

  a statute bears a “heavy burden” of demonstrating its invalidity. Cotton, 198 So. 3d at

  741 (internal quotation marks omitted). One Florida court has rejected an argument

  that Chapter 162, Florida Statutes, is unconstitutional by establishing a “rogue”

  judicial system. Michael D. Jones, P.A. v. Seminole Cnty., 670 So. 2d 95, 96 (Fla. 5th

  DCA 1996) (internal quotation marks omitted). Here, Plaintiffs have failed to

  demonstrate that there are no circumstances under which Chapter 162, Florida

  Statutes, or Chapter 22, DCO, would be valid. Plaintiffs instead focus on the

  application of Chapter 162, Florida Statutes, and Chapter 22, DCO, in this case. See

  Doc. 43 at 22–28. An as-applied challenge is distinct from a facial challenge.

         Therefore, based on the foregoing analysis, Defendants have demonstrated that

  there is no genuine dispute of material fact as to the excessive fines claims and that

  they are entitled to summary judgment as to those claims. As such, Defendants’

  motion for summary judgment will be granted as to the excessive fines claims.

     IV.    CONCLUSION

         Because there is no genuine dispute of material fact and Defendants are entitled

  to judgment as a matter of law on all claims, Defendants’ Dispositive Motion for

  Summary Judgment will be granted.

     Accordingly, it is hereby ORDERED AND ADJUDGED:




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     1. Defendants’ Dispositive Motion for Summary Judgment and Incorporated

        Memorandum of Law (Doc. 42) is GRANTED.

     2. Plaintiffs’ Dispositive Motion for Summary Judgment and Incorporated

        Memorandum of Law (Doc. 43) is DENIED.

     3. The Clerk is directed to enter JUDGMENT in favor of Defendants City of

        Dunedin, Florida and Dunedin Code Enforcement Board and against Plaintiffs

        James Ficken and Suncoast First Trust.

     4. The Clerk is further directed to terminate all pending motions and close this

        case.

        DONE AND ORDERED in Tampa, Florida on April 26, 2021.




  Copies to:
  Counsel of Record and Unrepresented Parties, if any




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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 JAMES FICKEN, Trustee, Suncoast
 First Trust and SUNCOAST FIRST
 TRUST,

                       Plaintiffs,

 v.                                                        Case No: 8:19-cv-1210-T-36SPF

 CITY OF DUNEDIN, FLORIDA,
 DUNEDIN CODE ENFORCEMENT
 BOARD

                       Defendants.


                            JUDGMENT IN A CIVIL CASE

 Decision by Court.    This action came before the Court and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of Defendants

 City of Dunedin, Florida and Dunedin Code Enforcement Board and against Plaintiffs James

 Ficken and Suncoast First Trust.

                                             ELIZABETH M. WARREN,
                                             CLERK

                                             s/C. Roberts, Deputy Clerk




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                                   CIVIL APPEALS JURISDICTION CHECKLIST

1.    Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited by statute:

      (a)       Appeals from final orders pursuant to 28 U.S.C. Section 1291: Only final orders and judgments of district courts, or final orders
                of bankruptcy courts which have been appealed to and fully resolved by a district court under 28 U.S.C. Section 158, generally are
                appealable. A final decision is one that “ends the litigation on the merits and leaves nothing for the court to do but execute the
                judgment.” Pitney Bowes, Inc. V. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983). A magistrate judge’s report and recommendation
                is not final and appealable until judgment thereon is entered by a district court judge. 28 U.S.C. Section 636(c).

      (b)       In cases involving multiple parties or multiple claims, a judgment as to fewer than all parties or all claims is not a final,
                appealable decision unless the district court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b), Williams
                v. Bishop, 732 F.2d 885, 885-86 (11th Cir. 1984). A judgment which resolves all issues except matters, such as attorneys’ fees and
                costs, that are collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson & Co., 486 U.S. 196, 201, 108 S.
                Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988); LaChance v. Duffy’s Draft House, Inc., 146 F.3d 832, 837 (11th Cir. 1998).

      (c)       Appeals pursuant to 28 U.S.C. Section 1292(a): Appeals are permitted from orders “granting, continuing, modifying, refusing
                or dissolving injunctions or refusing to dissolve or modify injunctions...” and from “[i]nterlocutory decrees...determining the rights
                and liabilities of parties to admiralty cases in which appeals from final decrees are allowed.” Interlocutory appeals from orders
                denying temporary restraining orders are not permitted.

      (d)       Appeals pursuant to 28 U.S.C. Section 1292(b) and Fed.R.App.P.5: The certification specified in 28 U.S.C. Section 1292(b)
                must be obtained before a petition for permission to appeal is filed in the Court of Appeals. The district court’s denial of a motion
                for certification is not itself appealable.

      (e)       Appeals pursuant to judicially created exceptions to the finality rule: Limited exceptions are discussed in cases including, but
                not limited to: Cohen V. Beneficial Indus. Loan Corp., 337 U.S. 541,546,69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528 (1949); Atlantic
                 Fed. Sav. & Loan Ass’n v. Blythe Eastman Paine Webber, Inc., 890 F. 2d 371, 376 (11th Cir. 1989); Gillespie v. United States
                Steel Corp., 379 U.S. 148, 157, 85 S. Ct. 308, 312, 13 L.Ed.2d 199 (1964).

2.    Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional. Rinaldo v. Corbett, 256 F.3d 1276, 1278 (11th Cir.
      2001). In civil cases, Fed.R.App.P.4(a) and (c) set the following time limits:

      (a)       Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements set forth in Fed.R.App.P. 3 must be filed in the
                district court within 30 days after the entry of the order or judgment appealed from. However, if the United States or an officer or
                agency thereof is a party, the notice of appeal must be filed in the district court within 60 days after such entry. THE NOTICE
                MUST BE RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN THE LAST DAY OF THE APPEAL
                PERIOD - no additional days are provided for mailing. Special filing provisions for inmates are discussed below.

      (b)       Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other party may file a notice of appeal within 14 days after
                the date when the first notice was filed, or within the time otherwise prescribed by this Rule 4(a), whichever period ends later.”

      (c)       Fed.R.App.P.4(a)(4): If any party makes a timely motion in the district court under the Federal Rules of Civil Procedure of a type
                specified in this rule, the time for appeal for all parties runs from the date of entry of the order disposing of the last such timely
                filed motion.

      (d)       Fed.R.App.P.4(a)(5) and 4(a)(6): Under certain limited circumstances, the district court may extend the time to file a notice of
                appeal. Under Rule 4(a)(5), the time may be extended if a motion for an extension is filed within 30 days after expiration of the
                time otherwise provided to file a notice of appeal, upon a showing of excusable neglect or good cause. Under Rule 4(a)(6), the
                time may be extended if the district court finds upon motion that a party did not timely receive notice of the entry of the judgment
                or order, and that no party would be prejudiced by an extension.

      (e)       Fed.R.App.P.4(c): If an inmate confined to an institution files a notice of appeal in either a civil case or a criminal case, the notice
                of appeal is timely if it is deposited in the institution’s internal mail system on or before the last day for filing. Timely filing may
                be shown by a declaration in compliance with 28 U.S.C. Section 1746 or a notarized statement, either of which must set forth the
                date of deposit and state that first-class postage has been prepaid.                                                                   80
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3.    Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of Appellate Procedure, is a suitable format. See also
      Fed.R.App.P. 3(c). A pro se notice of appeal must be signed by the appellant.

4.    Effect of a notice of appeal: A district court loses jurisdiction (authority) to act after the filing of a timely notice of appeal, except for actions
      in aid of appellate jurisdiction or to rule on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).




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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 JAMES FICKEN, trustee,
 SUNCOAST FIRST TRUST; and
 SUNCOAST FIRST TRUST,

       Plaintiffs,

       vs.                                     Case No.: 8:19-cv-01210
                                               State Court Case No.: 19-003181-CI

 CITY OF DUNEDIN, FLORIDA;
 DUNEDIN CODE ENFORCEMENT BOARD;
 MICHAEL BOWMAN, in his official capacity as Code
 Enforcement Board Chairman; LOWELL SUPLICKI,
 in his official capacity as Code Enforcement Board
 Vice-Chair; ARLENE GRAHAM, in her official
 capacity as a member of the Code Enforcement Board;
 KEN CARSON, in his official capacity as a member
 of the Code Enforcement Board; WILLIAM
 MOTLEY, in his official capacity as a member
 of the Code Enforcement Board; DAVE PAULEY,
 in his official capacity as a member of the Code
 Enforcement Board; and BUNNY DUTTON, in
 her official capacity as a member of the Code
 Enforcement Board,

       Defendants.
                                               /

                                NOTICE OF APPEAL

       NOTICE IS GIVEN that Plaintiffs James Ficken, trustee, and Suncoast First Trust

 hereby appeal to the United States Court of Appeals for the Eleventh Circuit from this

 Court’s Order and Judgment granting Summary Judgment for the Defendants, entered in

 this action on April 26, 2021 (Docs. 88 & 89). The nature of the order is a final order

 denying Plaintiffs’ Motion for Summary Judgment and granting Defendants’ Motion for




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 Summary Judgment. Plaintiffs also appeal the order denying in part Plaintiffs’ Motion to

 Compel Production of Documents and Interrogatory Responses (Doc. 36) and Second

 Motion to Compel Production of Documents (Doc. 40), entered May 6, 2020 (Doc. 53)



       Dated: May 24, 2021

                            By:   /s/ Ari S. Bargil
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                                  **Admitted Pro Hac Vice

                                  Counsel for Plaintiffs




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of May 2021, a true and correct copy

 of the Notice of Appeal was filed with the Clerk of the Court using the CM/ECF system,

 which will send a of electronic filing to the following CM/ECF participants:

       Jay Daigneault
       Randy Mora
       TRASK DAIGNEAULT, L.L.P.
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       Counsel for Defendants


                                   /s/ Ari S. Bargil
                                   INSTITUTE FOR JUSTICE




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